      Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 1 of 31
                                    Peggy Armstrong                  EXHIBIT E
                                     April 30, 2021                              1
                                                                           Page 1
·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·GALVESTON DIVISION

·3·   STACEY KIBODEAUX aka ILLUSION, ) Case No.: 3:20-CV-00008
· ·   HAILEY CHAPMAN aka DAISY,· · · )
·4·   JEAN HOFFMEISTER aka JOHNE and )· JURY TRIAL DEMANDED
· ·   ROXANNE MURILLO aka· · · · · · )
·5·   UNIQUE/ROXANNE, individuals,· ·)
· ·   · · · · · · · · · · · · · · · ·)
·6·   · · · · · · · ·Plaintiff,· · · )
· ·   · · · · · · · · · · · · · · · ·)
·7·   · · · VS.· · · · · · · · · · · )
· ·   · · · · · · · · · · · · · · · ·)
·8·   A&D INTERESTS, INC. D/B/A· · · )
· ·   HEARTBREAKERS GENTLEMAN'S· · · )
·9·   CLUB, MIKE A. ARMSTRONG, PEGGY )
· ·   A. ARMSTRONG AND WHITEY DOE,· ·)
10·   INDIVIDUALS,· · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · ·)
11·   · · · · · · · ·Defendants.· · ·)

12·   *********************************************************
· ·   · · · · · · REMOTE VIDEOCONFERENCE DEPOSITION OF
13·   · · · · · · · · · · · · PEGGY ARMSTRONG
· ·   · · · · · · · · · · · ·APRIL 30TH, 2021
14·   *********************************************************

15· REMOTE VIDEOCONFERENCE DEPOSITION of PEGGY ARMSTRONG,

16· produced as a witness at the instance of the Plaintiffs

17· and duly remotely sworn was taken remotely in the

18· above-styled and numbered cause on the 30th of April,

19· 2021, from 10:03 a.m. to 1:09 p.m., before SUSAN L.

20· GRAHAM, CSR in and for the State of Texas, reported

21· remotely by machine shorthand, in the City of Houston,

22· Harris County, Texas, pursuant to the Federal Rules of

23· Civil Procedure, First Emergency Order Regarding COVID-19

24· State of Disaster, Notice and the provisions stated on

25· the record or attached hereto.


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                                     713-653-7100                                    YVer1f
Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 2 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                           2 to 5
                                                     Page 2                                                            Page 4
·1· · · · · · · · · · · ·A P P E A R A N C E S                  ·1·   · · · · · · · ·THE COURT REPORTER:· The attorneys
·2
· · FOR THE PLAINTIFFS:
                                                                ·2·   participating in this deposition acknowledge that I am
·3· · · · Leigh Montgomery                                      ·3·   not physically present in the deposition room and that I
· · · · · Ellzey & Associates, PLLC                             ·4·   will be reporting this deposition remotely.· They further
·4· · · · 1105 Milford Street
                                                                ·5·   acknowledge that in lieu of an oath administered in
· · · · · Houston, Texas· 77006
·5· · · · Phone:· ·713-554-2377                                 ·6·   person, I will administer the oath remotely.· This
· · · · · E-mail:· leigh@ellzeylaw.com                          ·7·   arrangement is pursuant to the Texas Supreme Court First
·6· · · · (Appearing remotely)
                                                                ·8·   Emergency Order Regarding the COVID-19 State of Disaster.
·7
· · FOR THE DEFENDANTS:                                         ·9·   The parties and their counsel consent to this arrangement
·8· · · · William X. King                                       10·   and waive any objections to this manner of reporting.
· · · · · Wallace & Allen, LLP
                                                                11·   Please indicate your agreement by stating your name and
·9· · · · 440 Louisiana, Suite 1500
· · · · · Houston, Texas· 77002                                 12·   your agreement on the record, counsel.
10· · · · Phone:· ·713-227-1744                                 13·   · · · · · · · ·MS. MONTGOMERY:· Leigh Montgomery on
· · · · · E-mail:· wking@wallaceallen.com
                                                                14·   behalf the Plaintiffs, I agree.
11· · · · (Appearing remotely)
12                                                              15·   · · · · · · · ·MR. KING:· Will King on behalf of the
13                                                              16·   Defendants, I agree.
14                                                              17·   · · · · · · · ·THE COURT REPORTER:· At this time, Ms.
15
16
                                                                18·   Armstrong, will raise your right hand, please?· I need to
17                                                              19·   swear you in.
18                                                              20·   · · · · · · · · · · ·PEGGY ARMSTRONG
19
20
                                                                21·   having been first duly remotely, testified as follows:
21                                                              22·   · · · · · · · · · · · · EXAMINATION
22                                                              23·   QUESTIONS BY MS. MONTGOMERY:
23
                                                                24·   · · · Q.· ·Good morning.· I am going to show you
24
25                                                              25·   hopefully what I'm going to mark as Exhibit 1 to your

                                                     Page 3                                                            Page 5
·1· · · · · · · · · · · · · · I N D E X                         ·1·   deposition, Ms. Armstrong.· Whenever I have to share
·2· · REMOTE VIDEOCONFERENCE DEPOSITION OF PEGGY ARMSTRONG
· · · · · · · · · · · · · APRIL 30TH, 2021
                                                                ·2·   exhibits, just so you know, it takes me a minute to get
·3                                                              ·3·   it on the share screen.· Okay.· Now I'm showing you what
·4· · · · · · · · · · · · · · · · · · · · · · · · · · · Page    ·4·   I'm marking as Exhibit 1 to your deposition, which is the
· · Appearances...................................· · · · 2
                                                                ·5·   notice for a corporate rep deposition for A&D Interests,
·5· Examination-Ms. Montgomery....................· · · · 4
· · Examination-Mr. King..........................· · · ·77     ·6·   Inc.· Can you see that on your screen, Ms. Armstrong?
·6· Re-Examination-Ms. Montgomery.................· · · 106     ·7·   · · · A.· ·Yes, ma'am.
· · Witness's Correction Page.....................· · · 115
                                                                ·8·   · · · Q.· ·Okay.· Now I'm going to say we had some snafus
·7· Witness's Signature Page......................· · · 116
· · Reporter's Certificate........................· · · 117     ·9·   yesterday.· Your deposition was originally set to occur
·8                                                              10·   yesterday and we agreed to move it to today.· Is that
·9· · · · · · · · · · · · · ·EXHIBIT INDEX
                                                                11·   your understanding?
10· P. Armstrong· · · · · · · Description· · · · · · · Marked
11· Exhibit· ·1· ·Corporate Representative Notice of· · ·114    12·   · · · A.· ·Yes.
· · · · · · · · · Deposition                                    13·   · · · Q.· ·So what you'll see in front of you it still
12· Exhibit· ·2· ·Jersey Interim Arbitration Award· · · ·114
                                                                14·   has a notice for yesterday but because the parties just
· · Exhibit· ·3· ·Heartbreakers' Signs or Rules· · · · · 114
13· Exhibit· ·4· ·Jones Interim Arbitration Award· · · · 114    15·   agreed to move to today because of technical issues.
· · Exhibit· ·5· ·Heartbreakers Policy· · · · · · · · · ·114    16·   What I'm going to ask you about is the topics which were
14                                                              17·   attached to the notice of the deposition.· Ms. Armstrong,
15
16
                                                                18·   have you ever seen these topics before?· And I can scroll
17                                                              19·   down.
18                                                              20·   · · · A.· ·Yes.
19
20
                                                                21·   · · · Q.· ·Okay.· And you're familiar with the topics
21                                                              22·   that we requested a corporate representative for A&D
22                                                              23·   Interests, right?
23
                                                                24·   · · · A.· ·Yes.
24
25                                                              25·   · · · Q.· ·And are you the person -- there are 1 through


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 3 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                           6 to 9
                                                       Page 6                                                            Page 8
·1·   19 topics listed here.· Are you the person that's been      ·1·   · · · Q.· ·So Mike Armstrong owns a hundred percent of
·2·   designated to testify on behalf of A&D Interests, Inc.      ·2·   the stock?
·3·   for all of the topics listed?                               ·3·   · · · A.· ·Yes.
·4·   · · · A.· ·Yes.                                             ·4·   · · · Q.· ·Do you consider yourself a part owner?
·5·   · · · Q.· ·Ms. Armstrong, have you ever testified as a      ·5·   · · · A.· ·I'm the secretary/treasurer of the corporation
·6·   corporate representative on behalf of A&D Interests, Inc.   ·6·   and, no, I don't consider myself an owner.
·7·   pre -- prior to today?                                      ·7·   · · · Q.· ·Was the -- well, how long have you been
·8·   · · · A.· ·Yes.                                             ·8·   married to Mike Armstrong?
·9·   · · · Q.· ·When was the last time that you testified as a   ·9·   · · · A.· ·48 years.
10·   corporate representative on behalf of A&D Interests?        10·   · · · Q.· ·And was the corporate -- corporation A&D
11·   · · · A.· ·Oh, goodness.· Several -- well, I'm not          11·   Interests, Inc., was that formed in -- during the time
12·   exactly sure of the time frame but it's been a few years    12·   that you were married to him?
13·   ago.                                                        13·   · · · A.· ·Yes.
14·   · · · Q.· ·Was it in a lawsuit that was instituted by an    14·   · · · Q.· ·Does A&D Interests, Inc. own any other
15·   entertainer?                                                15·   businesses besides Heartbreakers?
16·   · · · A.· ·Yes.                                             16·   · · · A.· ·No.
17·   · · · Q.· ·Okay.· Was the lawsuit the -- the lawsuit        17·   · · · Q.· ·Now during the time let's say in the past ten
18·   filed by a Frankie Henderson?                               18·   years has anyone other than yourself testified as a
19·   · · · A.· ·I'm not sure if it was Frankie Henderson.        19·   corporate representative on behalf of, and I'm going to
20·   There were -- there was another entertainer and I can't     20·   be specific, Heartbreakers?
21·   remember which --                                           21·   · · · A.· ·I'm not sure but I believe I'm the only one.
22·   · · · Q.· ·Was it Stephanie --                              22·   My husband might have but I believe I'm usually the
23·   · · · A.· ·-- entertainer.                                  23·   corporate representative.
24·   · · · Q.· ·Was the other entertainer that you're thinking   24·   · · · Q.· ·Other than yourself and Mr. Armstrong, has
25·   of Stephanie, I'm going to mess up her last name but        25·   anyone ever testified on behalf -- as a corporate

                                                       Page 7                                                            Page 9
·1·   tope -- Toeprasara?                                         ·1·   representative on behalf of Heartbreakers?
·2·   · · · A.· ·No.                                              ·2·   · · · A.· ·No.
·3·   · · · Q.· ·Okay.· When you provided your testimony in the   ·3·   · · · Q.· ·I understand that Heartbreakers actually
·4·   last case as a corporate representative, was it via a       ·4·   employs or has a staff of, of people helping run, manage
·5·   deposition like we're doing today or was it in court?       ·5·   the club; is that correct?
·6·   · · · A.· ·Yes.· Like a deposition like today but not on    ·6·   · · · A.· ·I'm sorry, I don't understand your question.
·7·   Zoom.                                                       ·7·   · · · Q.· ·I understand that Heartbreakers has staff that
·8·   · · · Q.· ·Understood.· Have you ever had to testify in     ·8·   it employs to help manage and run the club; is that
·9·   court as a corporate representative on behalf of A&D        ·9·   correct?
10·   Interests, Inc.?· Let me -- let me limit it for you         10·   · · · A.· ·That is correct.
11·   because it may take a minute if I don't limit it.           11·   · · · Q.· ·I understand that managers of the club,
12·   · · · A.· ·Okay.                                            12·   including the general manager, Mr. Forster, and other
13·   · · · Q.· ·Let's say in the past ten years?                 13·   floor managers like Mr. Arceno, have the power to hire or
14·   · · · A.· ·No.                                              14·   fire other staff, staff being like a bartender or a
15·   · · · Q.· ·I understand that A&D Interests, Inc. has been   15·   waitress.· Is that correct?
16·   around for over 30 years.· Is that accurate?                16·   · · · A.· ·That is correct.
17·   · · · A.· ·Yes.                                             17·   · · · Q.· ·They would not, they being the managers or the
18·   · · · Q.· ·A&D Interests, Inc. I also understand owns the   18·   general manager, would not have to come to either you or
19·   club doing business as Heartbreakers; is that right?        19·   Mr. Armstrong in order to take that action.· That action
20·   · · · A.· ·Yes.                                             20·   being either to hire or fire a staff member.· Is that
21·   · · · Q.· ·And that the only owners of A&D or that have a   21·   correct?
22·   interest in A&D Interests, Inc. are yourself and Mike       22·   · · · A.· ·That is correct.
23·   Armstrong; is that accurate?                                23·   · · · Q.· ·Is there anything that the general manager
24·   · · · A.· ·No, it's not.· My husband owns a hundred         24·   would have to get permission from Mr. Armstrong in order
25·   percent of the stock in A&D Interests, Inc.                 25·   to do on behalf of Heartbreakers?


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 4 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                         10 to 13
                                                      Page 10                                                           Page 12
·1·   · · · A.· ·I think that's a little too broad.· I don't      ·1·   I just have mainly a supervisory position over our office
·2·   really quite know how to answer that.                       ·2·   manager and --
·3·   · · · Q.· ·Well, I mean is there anything that only Mr.     ·3·   · · · Q.· ·I understand that you then primarily handle
·4·   Armstrong reserves the power to decide about the club?      ·4·   the business end of the club as opposed to the
·5·   · · · A.· ·I really don't know exactly what you mean.       ·5·   operational end.· Does that sound accurate?
·6·   · · · Q.· ·Well, you told me that the general manager,      ·6·   · · · A.· ·That's accurate.
·7·   for example, would have the ability to hire and fire        ·7·   · · · Q.· ·And you said that you provide quarterly
·8·   staff members without asking Mr. Armstrong, correct?        ·8·   reports to your CPA?
·9·   · · · A.· ·Correct.                                         ·9·   · · · A.· ·Yes.
10·   · · · Q.· ·Is there other things that he would have to      10·   · · · Q.· ·Who's the CPA?
11·   ask Mr. Armstrong in order to do on behalf of the club?     11·   · · · A.· ·Wrinkle Gardner, W-r-i-n-k-l-e G-a-r-d-n-e-r.
12·   · · · A.· ·Oh, construction, things like that.              12·   · · · Q.· ·And is that the name of a company or the name
13·   · · · Q.· ·If he wanted to change the building per se; is   13·   of a person?
14·   that correct?                                               14·   · · · A.· ·It's the name of a company and the names of
15·   · · · A.· ·Yes.                                             15·   two people, Wrinkle and Gardner.
16·   · · · Q.· ·Okay.                                            16·   · · · Q.· ·So that -- Okay.· I, I just couldn't
17·   · · · A.· ·Yes.                                             17·   understand if that was a company name or a person's name,
18·   · · · Q.· ·Is there a -- what about like changes in, in     18·   sorry.
19·   food or drink policy, would that be something Mr.           19·   · · · A.· ·Yes, it's a company name.
20·   Armstrong would be in charge of?                            20·   · · · Q.· ·And is that company -- where is that company
21·   · · · A.· ·No.                                              21·   located?
22·   · · · Q.· ·So the general manager would be able to make     22·   · · · A.· ·On Bay Area Boulevard in Houston.
23·   that decision on his own?                                   23·   · · · Q.· ·And how long has Wrinkle Gardner handled your
24·   · · · A.· ·Yes.                                             24·   CPA work?· Your being Heartbreakers.
25·   · · · Q.· ·Can you think of anything else other than        25·   · · · A.· ·For the past two years.· They bought out the

                                                      Page 11                                                           Page 13
·1·   construction or change in the building itself that Mr.      ·1·   prior company that did our work for many years.
·2·   Armstrong would need approval over?                         ·2·   · · · Q.· ·And when you say that you close the month, can
·3·   · · · A.· ·At this time I can't think of anything.          ·3·   you describe what that means?
·4·   · · · Q.· ·Now I asked about Mr. Armstrong.· Is there       ·4·   · · · A.· ·Well, that means I get a box of paperwork of
·5·   anything that the managers or the general managers would    ·5·   everything that occurred, the bills that were paid, the
·6·   need to run by you before taking action on behalf of the    ·6·   payroll, the deposits, the, the bank account
·7·   club?                                                       ·7·   reconciliations and I put it altogether and input it into
·8·   · · · A.· ·No.                                              ·8·   my little computer in, oh, Peachtree system and print out
·9·   · · · Q.· ·Do they report to you, the general managers or   ·9·   a report and then I -- the CPA wants different things
10·   the managers, on their duties and responsibilities for      10·   analyzed by me first and so I just send her at the end of
11·   the club?                                                   11·   the quarter all those reports that I've printed and made
12·   · · · A.· ·No.                                              12·   for her.
13·   · · · Q.· ·Who do they report to?                           13·   · · · Q.· ·And do you keep those quarterly reports that
14·   · · · A.· ·If they report to anybody it's my husband,       14·   you send to the CPA?
15·   Mike.                                                       15·   · · · A.· ·Yes, ma'am.
16·   · · · Q.· ·As relates to Heartbreakers, I understand you    16·   · · · Q.· ·How long have you kept them?· Like how long do
17·   said your, your position is as secretary and treasurer;     17·   they go back?
18·   is that correct?                                            18·   · · · A.· ·Oh, several years.· We don't have space to
19·   · · · A.· ·Yes.                                             19·   keep everything very long but anywhere from five to seven
20·   · · · Q.· ·And what does you're position entail?· What do   20·   years we keep things.
21·   you do on behalf of the club?                               21·   · · · Q.· ·It goes back at least through back to 2017.
22·   · · · A.· ·Well, I close the month and give quarterly       22·   Does that sound fair?
23·   reports to our CPA to make quarterly reports for the bank   23·   · · · A.· ·Yes.
24·   and I go through some of the mail.· Oh, goodness.· I talk   24·   · · · Q.· ·So do you do a yearly analysis of those same
25·   to insurance representatives for insurance for the club.    25·   financial records?


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 5 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                         14 to 17
                                                      Page 14                                                           Page 16
·1·   · · · A.· ·Well, the way it works out, I give them the      ·1·   · · · A.· ·Yes.· Yes.
·2·   information quarterly and our year ends April 30th.· So     ·2·   · · · Q.· ·And the second shut down, do you know how long
·3·   at the end of April 30th all I have to do is give them      ·3·   you were closed before you were able to get that food
·4·   the April report and they have everything for the whole     ·4·   permit?
·5·   fiscal year.                                                ·5·   · · · A.· ·No, I would have to look up the dates.
·6·   · · · Q.· ·They being Wrinkle Gardner?                      ·6·   · · · Q.· ·So I'm going to go back a couple of years.
·7·   · · · A.· ·Yes.                                             ·7·   So -- and I know but the relevant period at issue in
·8·   · · · Q.· ·And do they provide you with a year end annual   ·8·   this, in this lawsuit goes back to 2017.· So I'm going to
·9·   financial report?                                           ·9·   ask your last annual report you're telling me that there
10·   · · · A.· ·Yes.                                             10·   was a loss that you took, correct?
11·   · · · Q.· ·I'm guessing that annual financial report for    11·   · · · · · · · ·THE COURT REPORTER:· They're frozen.
12·   the last year since today is April 30th hasn't been         12·   · · · · · · · ·MS. MONTGOMERY:· They're frozen.
13·   completed yet; is that fair?                                13·   · · · Q.· ·(By Ms. Montgomery)· We couldn't hear from you
14·   · · · A.· ·You are correct.                                 14·   for a second.· Okay.· I said -- I said I understand from
15·   · · · Q.· ·Okay.· So the prior fiscal year would have       15·   your last annual report, the one that ended in -- right
16·   been April -- would, would go from May 1st, 2019 through    16·   after the pandemic started in April 30th of 2020, I
17·   April 30th, 2020; is that correct?                          17·   understand that the club took a loss; is that correct?
18·   · · · A.· ·That's correct.                                  18·   · · · · · · · ·MR. KING:· Say the last part.
19·   · · · Q.· ·And do you know what the -- does the annual      19·   · · · Q.· ·(By Ms. Montgomery)· I understand that the
20·   report tell you what the gross revenues for the club are?   20·   club took a loss; is that correct?
21·   · · · A.· ·Yes, it does but I only remember how much we     21·   · · · A.· ·Yes.
22·   lost.                                                       22·   · · · Q.· ·Okay.
23·   · · · Q.· ·Okay.· Well, let me ask -- yeah.· And, and,      23·   · · · A.· ·At the end of -- at the end of 2020, yes.
24·   and I -- and I'm going to -- it's going to be hard          24·   · · · Q.· ·Yes.· Well, the -- the end of your fiscal year
25·   because the fiscal year covered a portion of, of when the   25·   of 2020 which is April 30th, right?

                                                      Page 15                                                           Page 17
·1·   club was shut down due to the pandemic, correct?            ·1·   · · · A.· ·Yes.· I, I don't know exact -- what the exact
·2·   · · · A.· ·Yes, and this year also.                         ·2·   numbers are yet.· I'm still working on the quarter -- the
·3·   · · · Q.· ·Right.· So I understand the club was closed at   ·3·   quarterlies for the CPA.
·4·   least from some period in March of, March of 2020 through   ·4·   · · · Q.· ·Right.· And I'm not asking about the one for
·5·   the end of May.· Was it, was it longer than that?           ·5·   today, the one that would be due today.· I'm talking
·6·   · · · A.· ·Well, we were closed when everybody had to       ·6·   about the year before.
·7·   close --                                                    ·7·   · · · A.· ·Oh.· Yes.
·8·   · · · Q.· ·Right.                                           ·8·   · · · Q.· ·I understood that your net profitability was a
·9·   · · · A.· ·-- and then we opened again and then the         ·9·   loss in April 30th of 2020, correct?
10·   governor said bars couldn't be open.· So we got a special   10·   · · · A.· ·Yes, I believe you are correct.
11·   food permit because we have been a restaurant for the       11·   · · · Q.· ·Do you know what the gross revenue was at that
12·   whole 36 -- almost 36 years that we've been open but just   12·   time?
13·   didn't have that special permit, so we got that and         13·   · · · A.· ·No.· I deal with a lot of numbers.
14·   reopened again so we were actually closed twice.            14·   · · · Q.· ·Well, and the -- unfortunately for me the one
15·   · · · Q.· ·When did you get the special food permit?        15·   that I'm interested in is the gross revenue number.· So
16·   · · · A.· ·I don't know the exact date.                     16·   I -- it is something that I need to know about.· Is there
17·   · · · Q.· ·Was it sometime in the summer of 2020?           17·   any year for which you can give me the gross revenue
18·   · · · A.· ·It was either spring or summer.· Is that         18·   number?
19·   right?· 2020, I'm losing track of time.                     19·   · · · A.· ·No, I only look at that bottom line.· That's
20·   · · · Q.· ·That's when -- that's when -- yeah.· I'll        20·   what I remember.
21·   represent to you March of 2020 is when people started to    21·   · · · Q.· ·Is there any -- have you reviewed any
22·   shut down due to the pandemic.· I understand almost         22·   documents today to prepare to answer those questions?
23·   everybody was closed at least through May and it -- so it   23·   · · · A.· ·I don't think I -- I looked at a few of the
24·   sounds like you opened for some period of time and then     24·   federal tax returns but I -- I was only looking at the
25·   were shut down again; is that correct?                      25·   bottom line.· I didn't look at the gross revenue.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 6 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                         18 to 21
                                                      Page 18                                                           Page 20
·1·   · · · Q.· ·Do you know what the monthly gross revenue was   ·1·   what has been the daily revenue of the club?
·2·   and I'll say pre pandemic?                                  ·2·   · · · A.· ·Oh, goodness.· Probably 2500 to 3500.· It's,
·3·   · · · A.· ·Oh.· Monthly.                                    ·3·   it's gone up and down.
·4·   · · · · · · · ·THE COURT REPORTER:· She's frozen again.     ·4·   · · · Q.· ·But it's not quite back to where it was pre
·5·   · · · · · · · ·MS. MONTGOMERY:· It's just hers.· I don't    ·5·   pandemic, right?
·6·   know why.                                                   ·6·   · · · A.· ·No, we're not open as many hours anymore for
·7·   · · · · · · · ·THE COURT REPORTER:· Yup.                    ·7·   one thing.
·8·   · · · · · · · ·MR. KING:· Her connection dropped out.       ·8·   · · · Q.· ·Does -- do you intend to go back to the hours
·9·   I'm reconnecting her.· Okay.                                ·9·   that the club had pre pandemic?
10·   · · · Q.· ·(By Ms. Montgomery)· So my question I think      10·   · · · A.· ·Probably not but that's not my decision.
11·   was pre pandemic, do you have any idea what the monthly     11·   · · · Q.· ·Whose decision would that be?
12·   gross revenue numbers were?                                 12·   · · · A.· ·My husband.
13·   · · · A.· ·No, I would just be guessing.                    13·   · · · Q.· ·Mr. Armstrong?
14·   · · · Q.· ·Okay.                                            14·   · · · A.· ·Yes.
15·   · · · A.· ·I don't memorize those things.                   15·   · · · Q.· ·Let's talk about some of the club's
16·   · · · Q.· ·And I'm not asking you to.· Unfortunately one    16·   expenditures.
17·   of the topics that we're here about today is about          17·   · · · A.· ·Okay.
18·   revenues and so that's why I'm asking those questions.      18·   · · · Q.· ·Do you know what the monthly payroll is for
19·   They are pertinent to several parts of the claims that      19·   the club?
20·   are at issue and it may be that we need to suspend the      20·   · · · A.· ·Well, that's changed too because we're open
21·   deposition until you can have the numbers in front of       21·   different hours.· I'd say -- and this is just a guess
22·   you, but I'm going to keep asking questions just to see     22·   because I don't do the payroll, but I do deposit -- see
23·   what we can get through.· Okay?                             23·   deposits for the payroll.· Maybe 35,000 a month and I'm
24·   · · · A.· ·Okay.                                            24·   not sure right now if that's true or not.
25·   · · · Q.· ·All right.· Let me ask do you know pre           25·   · · · Q.· ·So let me ask, that 35,000 number, is that

                                                      Page 19                                                           Page 21
·1·   pandemic what the average daily revenue for the club        ·1·   post pandemic?
·2·   would be?                                                   ·2·   · · · A.· ·Yes.· That may be just when -- payroll we pay
·3·   · · · A.· ·Pre pandemic, oh, probably around 4,000 to       ·3·   twice a month and I get confused about how much it is a
·4·   4500 a day.· I believe that's correct.                      ·4·   month because I just see that one figure but that may be
·5·   · · · Q.· ·And do you know what that number is I'll say     ·5·   just for one pay period.
·6·   post pandemic but also when the club was open obviously?    ·6·   · · · Q.· ·Okay.· Is that number, the 35,000, is that
·7·   Do you know what the daily revenue is post pandemic but     ·7·   lower than it was pre pandemic?
·8·   open?                                                       ·8·   · · · A.· ·Yes.
·9·   · · · A.· ·Do you mean right now or --                      ·9·   · · · Q.· ·Do you know what it -- that number was, the
10·   · · · Q.· ·Right now is, is -- yeah, I guess because        10·   monthly payroll, pre pandemic?
11·   there's also a time period -- let me back up.· There's a    11·   · · · A.· ·More like 75 to 80,000 a month.· So now it's
12·   time period where the club reopened post pan -- pandemic    12·   60,000 a month, around that, around that number.
13·   but was still under some capacity restrictions; is that     13·   · · · Q.· ·Do you know how much is paid to the -- well,
14·   correct?                                                    14·   back up.· I understand that there is a maintenance staff
15·   · · · A.· ·Right.                                           15·   for the building; is that right?
16·   · · · Q.· ·So when did that -- when did the club, you       16·   · · · A.· ·Well, there's one gentleman that's in charge
17·   know, get relieved of the capacity restrictions for the     17·   of maintenance.
18·   COVID pandemic?                                             18·   · · · Q.· ·Is he actually on the payroll for
19·   · · · A.· ·I don't remember the exact date.                 19·   Heartbreakers?
20·   · · · Q.· ·Was it some --                                   20·   · · · A.· ·Yes.
21·   · · · A.· ·You'd have to look back at the -- what the       21·   · · · Q.· ·And who is -- who's the gentleman that's in
22·   governor said.                                              22·   charge of maintenance?
23·   · · · Q.· ·Was it sometime in 2021?                         23·   · · · A.· ·Edward Gamez, G-a-m-e-z.
24·   · · · A.· ·Yes.                                             24·   · · · Q.· ·And does Mr. Gamez actually perform the
25·   · · · Q.· ·So since that time period, whatever it may be,   25·   maintenance on the building?· Like if there's a plumbing


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 7 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                         22 to 25
                                                      Page 22                                                           Page 24
·1·   problem is he the one who addresses it?                     ·1·   · · · A.· ·Yes.
·2·   · · · A.· ·Yes.                                             ·2·   · · · Q.· ·Over a hundred thousand?
·3·   · · · Q.· ·And I'll say that as opposed to would he be a    ·3·   · · · A.· ·Yes.
·4·   person that would hire someone if there -- if a             ·4·   · · · Q.· ·Over 200,000?
·5·   specialist was needed of some sort, would Mr. Gamez also    ·5·   · · · A.· ·Yes.
·6·   be the person that hired someone to come make a fix or      ·6·   · · · Q.· ·Over 300,000?
·7·   fix something on the building?                              ·7·   · · · A.· ·Yes.
·8·   · · · A.· ·Yes, or our general manager could also get a     ·8·   · · · Q.· ·Over 500,000?
·9·   plumber in if Edward was not available.                     ·9·   · · · A.· ·Probably.
10·   · · · Q.· ·How long has Mr. Gamez been in charge of         10·   · · · Q.· ·So over 600,000?
11·   maintenance?                                                11·   · · · A.· ·Probably.· We still haven't repaired
12·   · · · A.· ·I believe several years now.                     12·   everything that was damaged to tell you the truth.· We --
13·   · · · Q.· ·Would you say through 2017?                      13·   we had to stop.
14·   · · · A.· ·I'm not sure if he went back that far or not.    14·   · · · Q.· ·Why did you have to stop?
15·   · · · Q.· ·Is Mr. Gamez like a full-time employee?          15·   · · · A.· ·Money.
16·   · · · A.· ·Yes, he's on salary.                             16·   · · · Q.· ·Did -- were you able to make an insurance
17·   · · · Q.· ·Okay.· Do you know how much is spent on          17·   claim for the renovations?
18·   average for the building and maintenance let's say          18·   · · · A.· ·Yes.
19·   monthly?                                                    19·   · · · Q.· ·The investment was some -- somewhere between
20·   · · · A.· ·Well, that changes depending on what goes out    20·   five to six hundred, that's the best of your
21·   and it could be anywhere from 2 to 10,000 a month.          21·   recollection?
22·   · · · Q.· ·Since 2017, has Heartbreakers done any           22·   · · · A.· ·Well, we probably had a million dollars worth
23·   upgrades or renovations to the interior of the club?        23·   of damage but I think the flood insurance only covers
24·   · · · A.· ·Well, I'll have to go back to when was Harvey.   24·   500,000 and they were unwilling to pay us all of that.
25·   So after Harvey we did a lot of renovations because we      25·   · · · Q.· ·So the -- you're saying the club had to cover

                                                      Page 23                                                           Page 25
·1·   had almost three feet of water in the club.                 ·1·   the cost difference between what the, what the flood
·2·   · · · Q.· ·Okay.· So Harvey was -- I -- I know this         ·2·   insurance would cover and, and what needed to be done,
·3·   because I was supposed to move into my new house on the     ·3·   right?
·4·   date of Harvey so it's August 25th, 2017.· So is that --    ·4·   · · · A.· ·That is correct.
·5·   you're saying that during that or after Harvey obviously    ·5·   · · · Q.· ·Did any of the mechanical systems, like HVAC
·6·   the club had to undergo some serious renovations because    ·6·   or plumbing or any of that, did that have to be renovated
·7·   there were three feet of water you said?                    ·7·   post Harvey?
·8·   · · · A.· ·Almost three feet, yes.                          ·8·   · · · A.· ·We had to do a lot of things, electrical,
·9·   · · · Q.· ·So I'm guessing there's new flooring involved    ·9·   plumbing, our walk-in coolers.· It was just devastating.
10·   in that?                                                    10·   · · · Q.· ·I'm guessing you were closed for some period
11·   · · · A.· ·Yes.                                             11·   of time in 2017 after Harvey?
12·   · · · Q.· ·Was there new furniture purchased?               12·   · · · A.· ·We were closed for three weeks, which was a
13·   · · · A.· ·No, we actually renovated most of the            13·   miracle.
14·   furniture we had.                                           14·   · · · Q.· ·You're saying it's a miracle you were only
15·   · · · Q.· ·So I, I guess you're saying you repaired or      15·   closed for three weeks, right?
16·   salvaged the furniture that you had?                        16·   · · · A.· ·Yes.
17·   · · · A.· ·Yes, most of it could be recovered, could be     17·   · · · Q.· ·Since you made the majority, I'll say, of the
18·   dried out and recovered.                                    18·   repairs post Harvey, has there been any other upgrades or
19·   · · · Q.· ·So you had to spend money to do that             19·   investment that you have made into the club facilities
20·   recovering though, right?                                   20·   themselves, like lighting or paint, anything like that?
21·   · · · A.· ·Yes.                                             21·   · · · A.· ·Well, we painted after Harvey so.· I, I would
22·   · · · Q.· ·Do you know how much the club spent on the       22·   just have to look through the records to see what else
23·   post Harvey renovations?                                    23·   if -- what was done.· Most everything that's been done
24·   · · · A.· ·No, I don't know the total.                      24·   since Harvey was because of Harvey.
25·   · · · Q.· ·Was the total over 50,000?                       25·   · · · Q.· ·Okay.· Do you know how much the club spends on


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 8 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                         26 to 29
                                                      Page 26                                                           Page 28
·1·   average per month, and I'll say pre pandemic, on food?      ·1·   that correct?
·2·   · · · A.· ·You were breaking out at the beginning of your   ·2·   · · · A.· ·That is correct.
·3·   question so could you repeat it, please?                    ·3·   · · · Q.· ·And is the office manager's name's Barbara?
·4·   · · · Q.· ·Sure.· Pre pandemic do you know how much the     ·4·   · · · A.· ·Yes.
·5·   club spent on average for food?                             ·5·   · · · Q.· ·And what, what all does Barbara do for
·6·   · · · A.· ·No, I don't.                                     ·6·   Heartbreakers?
·7·   · · · Q.· ·Do you know how much on average pre pandemic     ·7·   · · · A.· ·Well, she, along with her assistant, we only
·8·   the club spent on alcohol?                                  ·8·   have one person helping her now, they count the money,
·9·   · · · A.· ·No, I don't.                                     ·9·   they make the daily reports, they do the payroll, they
10·   · · · Q.· ·That's something that you would be able to       10·   pay the bills.· She goes to Sam's to get supplies.· She
11·   look at the financial records and, and answer the           11·   goes to cigar stores to get cigars.· She does the main
12·   question?                                                   12·   duties.· She and Nora, her assistant, do all the duties
13·   · · · A.· ·Yes.                                             13·   of the office so that I don't have to be there on a daily
14·   · · · Q.· ·Would you know the answer to that question       14·   basis.
15·   post pandemic?                                              15·   · · · Q.· ·How often are you at the club?
16·   · · · A.· ·No.· I know it's less.                           16·   · · · A.· ·Usually I try to be there Monday through
17·   · · · Q.· ·Pre pandemic do you know how much on average     17·   Friday for four to six hours.
18·   the club spent on advertising or promotions?                18·   · · · Q.· ·Other than A&D Interests, Inc., do you have
19·   · · · A.· ·We rarely spend anything on advertising and      19·   any ownership in any other corporate en -- corporate
20·   promotions.                                                 20·   entities?
21·   · · · Q.· ·And has that been the same since 2017?           21·   · · · · · · · ·MR. KING:· Objection, form, misstates the
22·   · · · A.· ·Yes.· We have an electric messaging unit on      22·   deponent.· Go ahead.
23·   premise.                                                    23·   · · · A.· ·I don't understand the question.
24·   · · · Q.· ·I understand you, you mean the electric          24·   · · · Q.· ·(By Ms. Montgomery)· Do you, Ms. Armstrong, do
25·   messaging unit is a -- is like a sign that's in the         25·   you have any ownership interests in any entities other

                                                      Page 27                                                           Page 29
·1·   parking lot, right?                                         ·1·   than A&D Interests, Inc.?
·2·   · · · · · · · ·THE COURT REPORTER:· She's frozen.           ·2·   · · · A.· ·Yes.
·3·   · · · Q.· ·(By Ms. Montgomery)· Okay.· I -- I -- sorry.     ·3·   · · · Q.· ·What other corporate entities do you have a
·4·   · · · A.· ·It keeps saying -- it keeps saying my Internet   ·4·   interest in?
·5·   connection is unstable.                                     ·5·   · · · A.· ·It's not a corporation.· It's a joint venture
·6·   · · · Q.· ·Well, we may -- let me try to ask a few more     ·6·   I guess it's called.
·7·   questions but we may need to come back to this when you     ·7·   · · · Q.· ·Oh, I'm sorry.· I thought you were going to
·8·   have the financials that you can answer the questions       ·8·   tell -- what's the name of it?
·9·   about but let me ask a few more and see what we can get     ·9·   · · · A.· ·ADA Investments.
10·   through.· The electronic message board that you were        10·   · · · Q.· ·A, D as in dog, A?
11·   talking about, is that like a sign, a billboard kind of     11·   · · · A.· ·Yeah, A-D-A.
12·   sign in the parking lot?                                    12·   · · · Q.· ·And what's the purpose of that joint venture?
13·   · · · A.· ·Yes.                                             13·   · · · A.· ·It owns the property that Heartbreakers sits
14·   · · · Q.· ·Who controls the message?· Like who types in     14·   on.
15·   the message or who controls that?                           15·   · · · Q.· ·So A&D Interests, Inc. does not own the actual
16·   · · · A.· ·Our general manager.· He has a computer that     16·   club building; is that right?
17·   does that.                                                  17·   · · · A.· ·Right, correct.
18·   · · · Q.· ·Is that something that Mr. Armstrong would       18·   · · · Q.· ·ADA Investments owns the building?
19·   have to approve whatever's put up there?                    19·   · · · A.· ·Yes.
20·   · · · A.· ·Not necessarily.                                 20·   · · · Q.· ·And the -- that plot of land?
21·   · · · Q.· ·So the general manager, Mr. Forster, would be    21·   · · · A.· ·Yes.
22·   allowed to put the messages himself without approval?       22·   · · · Q.· ·Is there any mortgage on that?
23·   · · · A.· ·Yes.                                             23·   · · · A.· ·Moody National Bank has a -- holds the lien on
24·   · · · Q.· ·One of the duties you said you had you were      24·   the property.
25·   over -- you were a supervisor over the office manager; is   25·   · · · Q.· ·And other than yourself is there anyone else


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 9 of 31
                              Peggy Armstrong                  EXHIBIT E
                               April 30, 2021                         30 to 33
                                                      Page 30                                                           Page 32
·1·   who is an owner in ADA Investments?                         ·1·   · · · A.· ·I can't remember.· I -- the pandemic -- I have
·2·   · · · A.· ·No.· At one point we had another owner.· He      ·2·   pandemic brain I guess.
·3·   also owned stock in A&D Interests, Inc. but Mike bought     ·3·   · · · Q.· ·The only reason I'm asking is, again, one of
·4·   him out many years ago.                                     ·4·   the topics that you're here to testify about so I need to
·5·   · · · Q.· ·Is Mike an owner of ADA Investments?             ·5·   understand what information is available to you.· Is that
·6·   · · · A.· ·Yes.                                             ·6·   something that you would be able to look up or refresh
·7·   · · · Q.· ·We talked about at the beginning that you were   ·7·   your recollection on?
·8·   deposed as a corporate representative for Heartbreakers     ·8·   · · · A.· ·Yes, definitely.
·9·   in another lawsuit that was filed by an entertainer; is     ·9·   · · · Q.· ·Now do you understand why the arbitrator made
10·   that correct?                                               10·   an award for the entertainer?
11·   · · · A.· ·Yes.                                             11·   · · · A.· ·Well, understanding and liking it are two
12·   · · · Q.· ·Was that lawsuit similar to the claims that      12·   different things.
13·   are being alleged in this lawsuit; namely, that the         13·   · · · Q.· ·That's -- yeah.· Yes, they are, and I, I would
14·   entertainers are not appropriately being treated as         14·   think anytime someone tells you you have to pay money to
15·   employees?                                                  15·   someone else it's not liked so that -- that's not my
16·   · · · A.· ·Yes.                                             16·   question.· My question is what is your understanding of
17·   · · · Q.· ·Okay.· What was the result of the lawsuit that   17·   why Heartbreakers was required to pay the entertainer?
18·   you were deposed in?                                        18·   · · · A.· ·I understand that kind of thinking but it's
19·   · · · A.· ·I don't know result, question mark.              19·   not my kind of thinking.
20·   · · · Q.· ·Did it go to trial?· Did it settle?· Did it      20·   · · · Q.· ·Well, do you understand what the thinking was
21·   just get dismissed?· What happened?                         21·   or described to you as?
22·   · · · A.· ·It went to arbitration.                          22·   · · · A.· ·Yes.
23·   · · · Q.· ·And did you have to testify or, or show up for   23·   · · · Q.· ·What was it?
24·   the final arbitration hearing?                              24·   · · · A.· ·Oh, my goodness.· I really can't list all the
25·   · · · A.· ·No, I did not.                                   25·   things that they put in that ruling or --

                                                      Page 31                                                           Page 33
·1·   · · · Q.· ·Okay.· Did the final arbitration hearing         ·1·   · · · Q.· ·Well, is that something you have access to or
·2·   actually occur?                                             ·2·   could refresh your memory?
·3·   · · · A.· ·I believe, yes.                                  ·3·   · · · A.· ·Yes, I can -- I can read it off of the, the
·4·   · · · Q.· ·Okay.· And do you know, did the arbitrator       ·4·   final opinion.
·5·   award any -- make any awards in the case?                   ·5·   · · · Q.· ·Like I said, I think there -- we're going to
·6·   · · · A.· ·Yes.                                             ·6·   have to suspend this at some point because it sounds like
·7·   · · · Q.· ·What was the award?                              ·7·   there's some information you're going to need to either
·8·   · · · A.· ·I don't know the exact number.                   ·8·   have handy or refresh yourself on before we can ask all
·9·   · · · Q.· ·Well, let me ask it a, a different way.· Did     ·9·   the questions about it but I want to keep going to see
10·   the arbitrator say that Heartbreakers owed the              10·   what information we can get today to shorten whatever we
11·   entertainer any money?                                      11·   have to do in the future.· Okay?
12·   · · · A.· ·Yes, and the reason I get confused about the     12·   · · · · · · · ·MR. KING:· Well, if, if you want to ask
13·   number is because the entertainer got a certain amount of   13·   some questions and then we can take a break and I can
14·   money and the attorney got a huge amount of money.          14·   give, give her those documents that you're asking for so
15·   · · · Q.· ·So did -- was it your understanding that there   15·   she can look at them and produce them to you so we can go
16·   was also a claim for attorney's fees related to that        16·   ahead.· It's up to you.
17·   arbitration?                                                17·   · · · · · · · ·MS. MONTGOMERY:· I'm happy to do that as
18·   · · · A.· ·Yes.                                             18·   well.· I -- I -- if they're accessible let's do it
19·   · · · Q.· ·Do you under -- did you get some sort of --      19·   because it'll be a lot easier than coming back later but
20·   well, do you know when that arbitration award was           20·   that's up to you.· I don't know if they're accessible to
21·   entered?                                                    21·   you right now.
22·   · · · A.· ·No, I don't.                                     22·   · · · · · · · ·MR. KING:· Because like it seems like the
23·   · · · Q.· ·Was it sometime after 2017?                      23·   gross revenues, those, those figures probably just -- I
24·   · · · A.· ·I think so, yes.                                 24·   don't remember but I thought we were in it but you
25·   · · · Q.· ·Was it pre pandemic though?                      25·   might be -- we might be able to access those during a


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 10 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         34 to 37
                                                      Page 34                                                           Page 36
·1·   break.                                                      ·1·   trial, either in a jury or trial in a court or
·2·   · · · · · · · ·MS. MONTGOMERY:· You might be able to        ·2·   arbitration that said Heartbreakers was misclassifying
·3·   access the quarterly reports and, and that arbitration      ·3·   the entertainers as independent contractors?
·4·   award?                                                      ·4·   · · · · · · · ·MR. KING:· Objection, vague.
·5·   · · · · · · · ·MR. KING:· Definitely the arbitration.       ·5·   · · · A.· ·Do you want me to answer what I think?
·6·   · · · A.· ·I don't know about the quarterly reports.        ·6·   · · · · · · · ·MR. KING:· Just --
·7·   We -- that's mainly information on the computer in my       ·7·   · · · A.· ·There was a case but I'm not exact -- I don't
·8·   office and files in my office so.                           ·8·   think it went to arbitration.· I think it just went to a
·9·   · · · Q.· ·(By Ms. Montgomery)· Well, that's kind of what   ·9·   judge.
10·   I was thinking and, you know, if -- if -- let's keep        10·   · · · Q.· ·(By Ms. Montgomery)· Okay.
11·   going a little bit more and we may get clear on the         11·   · · · A.· ·I'm not -- I'm -- it may have been an
12·   arbitration issue but it sounds like we're still going to   12·   arbitration judge but I don't think it was, but there was
13·   have a problem with some of the revenue unless it's in      13·   a case prior to the one --
14·   front of you which is -- which I understand but I'd like    14·   · · · Q.· ·And that --
15·   to see what else -- see as much as we can cover and then,   15·   · · · A.· ·-- we're discussing.
16·   and then we'll come back if there's something we can fix    16·   · · · Q.· ·And that prior case did they also determine
17·   later.· After the arbitration award came out, did           17·   the entertainer to be an employee as opposed to an
18·   Heartbreakers change any of its policies or procedures as   18·   independent contractor?
19·   may relate to the entertainers?                             19·   · · · A.· ·No, they did not.
20·   · · · A.· ·Well, since one of the issues was control, we    20·   · · · Q.· ·Did they determine that the entertainer was in
21·   have totally told our managers to quit telling the          21·   fact an independent contractor?
22·   dancers to do anything and before the, the arbitration      22·   · · · A.· ·Yes.
23·   they were allowed to come and go whenever they wanted and   23·   · · · Q.· ·Do you know if that was in court?
24·   that was already in place but sometimes we would put up     24·   · · · A.· ·I don't know.· It was handled by our attorney
25·   signs for their safety and those were construed as          25·   Casey Wallace.

                                                      Page 35                                                           Page 37
·1·   control so we've tried to not put up any signs and not      ·1·   · · · Q.· ·You didn't have to provide any testimony at
·2·   control them in any way.                                    ·2·   that time?
·3·   · · · Q.· ·I understand one thing that Heartbreakers does   ·3·   · · · A.· ·No.
·4·   is present a new entertainer with two different options     ·4·   · · · Q.· ·Do you know if anyone else provided any
·5·   for a contract, one being an independent contractor and     ·5·   testimony for that prior court case?
·6·   one being an employee; is that correct?                     ·6·   · · · A.· ·I don't know.
·7·   · · · A.· ·That is correct.                                 ·7·   · · · Q.· ·Did you have to show up for a trial in that
·8·   · · · Q.· ·Now that option, the, the, the contract option   ·8·   case?
·9·   I'll call it, was that in place before that arbitration     ·9·   · · · A.· ·No.
10·   award?                                                      10·   · · · Q.· ·But there was some sort of final determination
11·   · · · A.· ·Yes.                                             11·   is your understanding?
12·   · · · Q.· ·And it's still in place as we sit here today,    12·   · · · A.· ·Yes.
13·   right?                                                      13·   · · · Q.· ·Do you know the name of that prior case?
14·   · · · A.· ·Yes.                                             14·   · · · A.· ·That was Stephanie Tarpester, however you
15·   · · · Q.· ·Do you know if the entertainer that was          15·   pronounce it.
16·   involved in that arbitration award, did that entertainer    16·   · · · · · · · ·MS. MONTGOMERY:· All right.· Let's, let's
17·   sign an independent contractor agreement?                   17·   go off the record for a minute.
18·   · · · A.· ·Yes.                                             18·   · · · · · · · ·(Brief recess from 10:55 a.m. to 11:09
19·   · · · Q.· ·Prior to the arbitration award we've been        19·   a.m.)
20·   discussing, was there any other lawsuit or arbitration      20·   · · · Q.· ·(By Ms. Montgomery)· Okay.· Ms. Armstrong, now
21·   award that indicated Heartbreakers was treat -- treating    21·   we have some of the arbitration decisions that, that we
22·   the or misclassifying the entertainers as independent       22·   were previously discussing and I want to ask you just a
23·   contractors?                                                23·   few questions about each of these awards.· So I'm going
24·   · · · A.· ·Was there, was there an arbitration?             24·   to mark as Exhibit 2 the interim award for Kaitlyn
25·   · · · Q.· ·Was there any -- either -- either a, either a    25·   Jersey.· Now this one says -- I think there's a date in


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 11 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         38 to 41
                                                      Page 38                                                           Page 40
·1·   here.· See if it says it at the bottom.· Hold on.· May      ·1·   · · · Q.· ·Does it sound accurate that the cover charge
·2·   3rd of 2019, does that sound like the case that you         ·2·   to get into the executive room is $30?
·3·   actually provided deposition testimony in?                  ·3·   · · · A.· ·I thought it was 25 but it could be 30 now. I
·4·   · · · A.· ·I believe that I was deposed in the Frankie      ·4·   don't --
·5·   Henderson case.                                             ·5·   · · · Q.· ·In that, in that range; is that correct?
·6·   · · · Q.· ·Oh, okay.· Okay.· Do you recall providing any    ·6·   · · · A.· ·Yes.· I just get a total dollar amount that --
·7·   testimony in this Kaitlyn Jersey case?                      ·7·   for the deposit.
·8·   · · · A.· ·No, I don't recall.                              ·8·   · · · Q.· ·Is that total dollar amount that you get, is
·9·   · · · Q.· ·Now, I -- just glancing through Exhibit 2, it    ·9·   that on a daily report that Barbara puts together or how
10·   looks like in this case the arbitrator did determine, at    10·   do you get that information?
11·   least under the Fair Labor Standards Act, that Kaitlyn      11·   · · · A.· ·No, it's included in the deposit with the
12·   was in fact a employee.· Was that your understanding as     12·   cover charge I believe.
13·   well?                                                       13·   · · · Q.· ·So you would only know what the total amount
14·   · · · A.· ·No.                                              14·   per day is that the club receives from both executive
15·   · · · Q.· ·Okay.· So you didn't understand that's what      15·   room and cover charge, right?
16·   the arbitrator awarded?                                     16·   · · · A.· ·Yes.
17·   · · · A.· ·I'm not exactly sure what he awarded and how     17·   · · · Q.· ·They're not broken out by category?
18·   he arrived at those conclusions.                            18·   · · · A.· ·No, that -- that's not necessary for my
19·   · · · Q.· ·Okay.· Did anybody go through this award with    19·   reports.
20·   you?                                                        20·   · · · Q.· ·Is the cover charge for the club $9?
21·   · · · A.· ·No.                                              21·   · · · A.· ·Yes.
22·   · · · Q.· ·Okay.· Is this -- the Kaitlyn Jersey, is this    22·   · · · Q.· ·Is it -- was it $9 pre pandemic as well?
23·   the arbitration that we were previously discussing in       23·   · · · A.· ·No.· We were open day shift and a night shift
24·   this deposition?                                            24·   pre pandemic.· Now we're just open at 4:00 o'clock in the
25·   · · · A.· ·Yes.                                             25·   afternoon.

                                                      Page 39                                                           Page 41
·1·   · · · Q.· ·Okay.· Is there a -- I understand that there     ·1·   · · · Q.· ·So is it -- was there a different cover charge
·2·   is still a floor fee charged by Heartbreakers, a fee that   ·2·   when the hours were different?
·3·   the entertainers pay, pay the cashier upon closing out      ·3·   · · · A.· ·Yes.
·4·   or, or, or leaving for the end of the evening; is that      ·4·   · · · Q.· ·What was the different cover charge?
·5·   accurate?                                                   ·5·   · · · A.· ·$6 for day shift and $12 for night shift.
·6·   · · · A.· ·Yes.                                             ·6·   · · · Q.· ·Do the -- is there any suggested amount for
·7·   · · · Q.· ·And is that fee varied between what time the     ·7·   the dancers to perform like a lap dance or private dance?
·8·   entertainer shows up to perform?                            ·8·   · · · A.· ·Each dancer chooses whatever amount she wants
·9·   · · · A.· ·Yes.                                             ·9·   to charge a customer.
10·   · · · Q.· ·Is there also a cover charge charged by the      10·   · · · Q.· ·Yeah, and my question is is there any amount
11·   club for customers?                                         11·   suggested by the managers?
12·   · · · A.· ·Yes.                                             12·   · · · A.· ·Not really.· They -- it's a -- it's a
13·   · · · Q.· ·Is there also a cover charge or charge of some   13·   conversation between the dancer and the customer.
14·   sort for a patron to enter the executive room at the        14·   · · · Q.· ·Is there a customary amount that you're aware
15·   club?                                                       15·   of?
16·   · · · A.· ·Yes.                                             16·   · · · A.· ·Not really.· They -- they make their own
17·   · · · Q.· ·Is there a charge of some sort for an            17·   negotiations.
18·   entertainer to use a booth at the club?                     18·   · · · Q.· ·Is there a fee charged if a patron wants to
19·   · · · A.· ·Yes.                                             19·   use a credit card to pay for entertainer -- entertainer
20·   · · · Q.· ·I understand the floor fees that the             20·   services?
21·   entertainer would have to pay if she performed at the       21·   · · · A.· ·I'm not exactly sure I understand the
22·   club per shift, if you will, would be anywhere from $27     22·   question.
23·   to $57.· Does that sound accurate?                          23·   · · · Q.· ·So if a, if a patron says I want to use my
24·   · · · A.· ·That sounds accurate.· I don't have the sheet    24·   credit card to pay for a private dance and tip an
25·   in front of me and I don't work with that daily so.         25·   entertainer, I understood that the club would do a


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 12 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         42 to 45
                                                      Page 42                                                           Page 44
·1·   transaction with, with the customer.· The waitress would    ·1·   allowed to, you know, if they got $200 in dance dollars
·2·   take the credit card.· There would be some sort of          ·2·   in one evening but they only tipped out or paid a hundred
·3·   signature on something saying, you know, I want $200 say    ·3·   dollars that they could take their dance dollars and come
·4·   on this credit card and that there -- there would be some   ·4·   back another day and use those dance dollars; is that
·5·   sort of fee charged to do that process for the customer     ·5·   right?
·6·   by the club?                                                ·6·   · · · A.· ·I believe that's correct.· We used to change
·7·   · · · A.· ·We sell -- we sell him dance dollars and then    ·7·   them out periodically but I haven't -- I don't know if
·8·   it's up to him who he gives them to.                        ·8·   they still do that or not.
·9·   · · · Q.· ·Right.· And so I understood if a customer did    ·9·   · · · Q.· ·So on the 1099 then that would be issued to
10·   that though that there was some percentage charged by the   10·   any dancer, would be -- it, it would include whatever
11·   club for processing that trans -- that credit card          11·   tips and cash dances that the dancer declares as well as
12·   transaction; is that correct?                               12·   any dance dollars she exchanges with the club?
13·   · · · A.· ·To the customer?· I'm not exactly sure that      13·   · · · A.· ·I'm, I'm not exactly sure what's included in
14·   the customer gets charged.· I'm -- I don't work with that   14·   those numbers.· It's what she declares and tips.· It's,
15·   daily so I, I would have to just look at the credit cards   15·   it's all up to her.
16·   themselves to see what fees that then you're charged.       16·   · · · Q.· ·Okay.· Well, if --
17·   · · · Q.· ·Is that something that's on the daily report     17·   · · · A.· ·I mean she can turn -- she can turn in as many
18·   that, that Barbara puts together for you?                   18·   dance dollars as she wants to whenever she wants to and
19·   · · · A.· ·I'm not sure if that's broken down or not.       19·   that's the day that it goes on the report.
20·   · · · Q.· ·Do -- does the club keep track of the dance      20·   · · · Q.· ·And that's what I'm asking is when does
21·   dollars that -- okay.· Well, let me back up. I              21·   heart -- what triggers Heartbreakers to include it in
22·   understand when a entertainer gets dance dollars from the   22·   that entertainer's 1099 and I --
23·   customer then at the end of the night she can exchange      23·   · · · A.· ·The day that --
24·   her dance dollars with the cashier for cash; is that        24·   · · · Q.· ·-- I understand the, the declaration she would
25·   correct?                                                    25·   have to make as far as cash but as far as money that's

                                                      Page 43                                                           Page 45
·1·   · · · A.· ·That -- that is correct.                         ·1·   exchanged between the dancer and Heartbreakers that's
·2·   · · · Q.· ·And is that exchange between the entertainer     ·2·   whatever she -- that dancer turns in dance dollars
·3·   and the cashier, when she turns in her dance dollars and    ·3·   Heartbreakers issues the cash, that's the date that
·4·   gets the cash, is that something that's tracked by the      ·4·   triggers Heartbreakers to document or record money going
·5·   computer system?                                            ·5·   to the dancer; is that right?
·6·   · · · A.· ·Yes, and it's a very complicated system.         ·6·   · · · A.· ·That is my understanding, yes.
·7·   · · · Q.· ·And I understand that the club then issues a     ·7·   · · · Q.· ·Okay.· Now is there any written policy or
·8·   1099 to the entertainer.· That 1099 only covers those       ·8·   procedure written notifying the dancer she has to declare
·9·   credit card transaction -- the, the dance dollars           ·9·   her cash tips or dance fees?
10·   exchanged; is that fair?                                    10·   · · · A.· ·No.
11·   · · · A.· ·No, it's not fair.                               11·   · · · Q.· ·How would the dancer know that information?
12·   · · · Q.· ·What else -- let me ask what else is, is, is     12·   · · · A.· ·I'm not exactly sure I understand your
13·   covered on the 1099 issue by the club to any entertainer?   13·   question.
14·   · · · A.· ·Well, whenever she's checking out she also       14·   · · · Q.· ·Who tells the dancer she has to, to, to tell
15·   declares her tips and the tips and the other money, I       15·   the cashier at the end of the night her tips and, and,
16·   don't know if it's cash dances that she declares or if      16·   and cash dance fees?
17·   it's just the credit card dances, I'm not exactly sure of   17·   · · · A.· ·Who tells her?· She -- she just knows to go to
18·   the system they have in place, and the cashier enters       18·   the cashier so she can check out.
19·   those numbers and those two numbers are what goes           19·   · · · Q.· ·Well, how does she -- well, yeah, but how
20·   eventually on the 1099, but there's a whole system of       20·   would she know that part of that check-out procedure is
21·   reconciling dance dollars to cash because we sell so many   21·   to tell the cashier how much cash tips and cash dances
22·   a night but there's never that same number turned in so     22·   she has?
23·   then there has to be a reconciliation of those numbers      23·   · · · · · · · ·MR. KING:· Objection, assumes facts.· Go
24·   with the cash.                                              24·   ahead.
25·   · · · Q.· ·And I understood that a customer was actually    25·   · · · A.· ·The cashier would ask her What do you declare


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 13 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         46 to 49
                                                      Page 46                                                           Page 48
·1·   today.                                                      ·1·   · · · Q.· ·Is it -- do you know how much the monthly note
·2·   · · · Q.· ·(By Ms. Montgomery)· And if the tips and the     ·2·   is?
·3·   dance fees are, as I understand it, negotiated between      ·3·   · · · A.· ·No, I can't remember.· It's over $3,000 a
·4·   the customer and entertainer, meaning the club's not        ·4·   month though and it's just for the building, fire, flood,
·5·   involved in that process at all, right?                     ·5·   and wind.
·6·   · · · A.· ·Right.                                           ·6·   · · · Q.· ·And that doesn't include like a general
·7·   · · · Q.· ·Then why is the entertainer declaring any        ·7·   liability policy?
·8·   amount to the club?                                         ·8·   · · · A.· ·No, we can't afford general liability or a
·9·   · · · A.· ·Because we're not supposed to tell her that      ·9·   liquor liability.
10·   she has to do anything so how can we tell her what and --   10·   · · · · · · · ·MR. KING:· Ms. Montgomery, are you done
11·   she's supposed to declare.· That's entirely up to her to    11·   with this exhibit?· I'm just asking if --
12·   declare what she made that night.· We have no idea what     12·   · · · · · · · ·MS. MONTGOMERY:· Sorry.
13·   she made.· She just has to declare it.                      13·   · · · · · · · ·MR. KING:· There you go.
14·   · · · Q.· ·And why does she have to declare it I guess is   14·   · · · Q.· ·(By Ms. Montgomery)· The quarterly reports
15·   what I'm getting at?                                        15·   that you do to provide to the CPA, does that break down
16·   · · · A.· ·Well, they want records of what they made        16·   the different expenses we've been discussing today?
17·   and -- or what they say they made and we try to keep        17·   · · · A.· ·Yes.
18·   track of what they've made for them.                        18·   · · · Q.· ·And does it also list the, the revenues that
19·   · · · Q.· ·So it's for the entertainer's own purpose if     19·   were coming in?
20·   they want the club to track it?                             20·   · · · A.· ·Yes.
21·   · · · A.· ·Yes.                                             21·   · · · Q.· ·And then I'm guessing there is a net
22·   · · · Q.· ·Okay.· Other than this exchange though, I        22·   profitability number also listed on the quarterly
23·   understand the club does not pay any sort of wages to its   23·   reports?
24·   entertainers, correct?                                      24·   · · · A.· ·Yes.
25·   · · · A.· ·That is correct.                                 25·   · · · Q.· ·And that's something that you keep on your

                                                      Page 47                                                           Page 49
·1·   · · · Q.· ·They wouldn't, they wouldn't pay minimum wages   ·1·   computer at the club?
·2·   or overtime wages, correct?                                 ·2·   · · · A.· ·The ones that I send to the CPA, yes, but they
·3·   · · · A.· ·That is correct.                                 ·3·   make all kinds of adjustments to them for depreciation
·4·   · · · Q.· ·And that has been the case since at the very     ·4·   and other things cause I'm not an accountant and -- or a
·5·   least from 2017 moving forward, right?                      ·5·   CPA and so they, they do the final adjustments.
·6·   · · · A.· ·Yes.                                             ·6·   · · · Q.· ·And by they do you mean the CPA when they do
·7·   · · · Q.· ·Now I also understand that the dancers would     ·7·   the final adjustments is that for the annual report?
·8·   keep the -- any tips that they got from the customer,       ·8·   · · · A.· ·No, for the quarterlies and the annual.
·9·   right?                                                      ·9·   · · · Q.· ·And are you provided a copy of both the
10·   · · · A.· ·That is correct.                                 10·   quarterlies and the annuals that are finalized by the
11·   · · · Q.· ·And that is not necessarily an amount that       11·   CPA?
12·   would go in any portion to the club, right?                 12·   · · · A.· ·Yes.
13·   · · · A.· ·That is correct.                                 13·   · · · Q.· ·Is that something you would have access to
14·   · · · Q.· ·And the same would be true for any private       14·   going back to 2017?
15·   dance fees like a lap dance, that's money that would be     15·   · · · A.· ·Yes.
16·   exchanged between the customer and the entertainer and      16·   · · · · · · · ·MS. MONTGOMERY:· Well, counsel, then if
17·   would not go to the club, right?                            17·   that's something that you guys are willing to provide
18·   · · · A.· ·That is correct.                                 18·   then I would suggest that we probably, based on what I
19·   · · · Q.· ·You said that you handled the insurance for      19·   can see from the quarterlies and the annual report, we
20·   the club?                                                   20·   probably wouldn't have need to come back to finish this
21·   · · · A.· ·Yes.                                             21·   deposition.· Is that something that you're willing to
22·   · · · Q.· ·Is there a monthly amount that is expended on    22·   provide us?
23·   the insurance for the club that you know?                   23·   · · · · · · · ·MR. KING:· Yeah, and I mean I got to look
24·   · · · A.· ·Well, we, we make a down payment and then        24·   at them to see what other financial information is out
25·   there's a, a monthly note and -- yes, a monthly note.       25·   there but if you're looking for, you know, kind of your,


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 14 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         50 to 53
                                                      Page 50                                                           Page 52
·1·   your typical business numbers I'm happy to provide that     ·1·   staff at the club includes, I'm going to list off some
·2·   to you.                                                     ·2·   people, bartenders, waitresses, door people, managers,
·3·   · · · · · · · ·MS. MONTGOMERY:· Yeah, and, and we can       ·3·   there's an executive room, so a person in charge of the
·4·   enter a protective -- you know, if we want a protective     ·4·   executive room, a maintenance guy, and this is all in
·5·   order agreement.· I just -- we obviously need the           ·5·   addition to your office staff.· Does that sound accurate?
·6·   expenditures, you know, the investment in the, in the       ·6·   · · · A.· ·Did you say cashier?
·7·   club and that they spend on a monthly basis as well as      ·7·   · · · Q.· ·I did not, no.· I was just thinking that. I
·8·   the revenue stream.· So if that's something that's on       ·8·   understood there's two cashiers Jen and Brandy; is that
·9·   there and we can make an agreement that those will be       ·9·   right?
10·   provided I can bypass that information and move on to       10·   · · · A.· ·Yes.
11·   anything else I have to ask.· Is that fair?                 11·   · · · Q.· ·And all of these people I have list or
12·   · · · · · · · ·MR. KING:· Yeah, we can have a stipulation   12·   positions listed off are considered employees, right?
13·   in principle.· We might -- I don't know if we might have    13·   · · · A.· ·Yes.
14·   a disagreement about the full extent of the information     14·   · · · Q.· ·Were any of those people provided a choice --
15·   that these reports might contain, but I am, I am willing    15·   well, one, did any of those people sign a contract that
16·   to provide you with the information that you're looking     16·   they are an employee of Heartbreakers?
17·   for I, I presume for purposes of the relative investments   17·   · · · A.· ·No.
18·   factor, right?                                              18·   · · · Q.· ·And were any of those individuals provided a
19·   · · · · · · · ·MS. MONTGOMERY:· Yeah, there's the two,      19·   choice to sign a contract to be an independent
20·   the two things, the enterprise liability as well as the,    20·   contractor?
21·   yeah, relative investments factor.· Those are the two       21·   · · · A.· ·No.
22·   things we're --                                             22·   · · · Q.· ·And do some of those -- the, the, the
23·   · · · · · · · ·MR. KING:· You know, I can't remember if     23·   positions I listed off, are some of them tipped
24·   we denied whether gross revenues in excess of a half        24·   employees, meaning they can keep their tips?
25·   million dollars a year.                                     25·   · · · A.· ·Yes.

                                                      Page 51                                                           Page 53
·1·   · · · · · · · ·MS. MONTGOMERY:· I don't either and          ·1·   · · · Q.· ·And some of the other ones like the managers I
·2·   that's, that's why I'm reserving that right I -- to be      ·2·   understand are salaried, right?
·3·   fair.· So like I said, what we can do then at least on,     ·3·   · · · A.· ·Yes.· Well, some --
·4·   on those issues to have a few more questions but at least   ·4·   · · · Q.· ·And the --
·5·   on the issues related to the investments and revenues if    ·5·   · · · A.· ·Some -- a couple of our managers are also
·6·   we can get a copy of those things I will reserve my right   ·6·   bartenders so they have like a shift pay when they're
·7·   to recall her but if it has the information we need then    ·7·   managing.
·8·   we probably won't --                                        ·8·   · · · Q.· ·I see.· They have a different way they're paid
·9·   · · · · · · · ·MR. KING:· I can -- I -- I can produce       ·9·   between when they're acting as a bartender and when
10·   documents once I've had an opportunity to review and if     10·   they're acting as a manager, right?
11·   you want you can send me a interrogatory for any            11·   · · · A.· ·Yes.
12·   explanations and I can agree to send you interrogatory      12·   · · · Q.· ·In both instances though, if they're an
13·   responses, you know, within 7 to 14 days before your        13·   employee in dual roles they're still considered an
14·   briefing deadline.                                          14·   employee by the club, right?
15·   · · · · · · · ·MS. MONTGOMERY:· I was going to say we       15·   · · · A.· ·Yes.
16·   just need to do it before the -- the only thing we're,      16·   · · · Q.· ·Are there any benefits paid to, to the club
17·   we're under the briefing deadline.· That's the only -- my   17·   employees?
18·   only issue right now is the briefing deadline but if we     18·   · · · A.· ·No.
19·   can get some agreement on those things then --              19·   · · · Q.· ·And I'll be clear, is there any like paid time
20·   · · · · · · · ·MR. KING:· Sure.                             20·   off?
21·   · · · · · · · ·MS. MONTGOMERY:· -- I'll just ask any        21·   · · · A.· ·Yes, they get vacation pay after they've been
22·   other questions about nonspecific dollars and --            22·   there five years I believe it is.
23·   · · · · · · · ·MR. KING:· That's fine.                      23·   · · · Q.· ·Is there any other benefit that an employee of
24·   · · · · · · · ·MS. MONTGOMERY:· Okay.· All right.           24·   the club would receive?
25·   · · · Q.· ·(By Ms. Montgomery)· I understand that the       25·   · · · A.· ·Not that I know of.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 15 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         54 to 57
                                                      Page 54                                                           Page 56
·1·   · · · Q.· ·Now I think you said after the arbitration       ·1·   have to be covered.· Well, not the buttocks but anyway --
·2·   award we've already looked at as Exhibit 2, after that      ·2·   I'm getting confused.
·3·   was entered there were some changes that you said were      ·3·   · · · Q.· ·The middle of the buttocks?
·4·   made at the club, right?                                    ·4·   · · · A.· ·Yes.
·5·   · · · A.· ·Yes.                                             ·5·   · · · Q.· ·That part needs to be covered?
·6·   · · · Q.· ·And, and can you describe for me what those      ·6·   · · · A.· ·Exactly.
·7·   changes were again?                                         ·7·   · · · Q.· ·So, for example, a thong or a T-back, they
·8·   · · · A.· ·Well, we took down all the signs and the         ·8·   would be allowed to wear that as long as it's covering
·9·   managers were instructed not to interfere in any way with   ·9·   the middle portion of the buttocks; is that right?
10·   the dancers' interactions with the customers.· Oh,          10·   · · · A.· ·Yes, ma'am.· Yes.
11·   goodness.· We -- we had already determined not to tell      11·   · · · Q.· ·Doing my best.· All right.· Now one of the
12·   them what to wear.· We haven't told them what to wear in    12·   other ordinances or laws I understand related to sexually
13·   many years.· When we opened in 1985 no one could have       13·   oriented businesses regulates contact between an
14·   tattoos.· They had to be covered up.· Now they can have     14·   entertainer at a sexually oriented business and any
15·   tattoos all over their body and they don't have to be       15·   patron or customer.· Do you understand that there's some,
16·   covered up.· There are just a lot of little minute things   16·   some ordinances or laws related to that contact?
17·   that we just don't interfere with the entertainers making   17·   · · · A.· ·Yes.
18·   their money.                                                18·   · · · Q.· ·And I understand once again if, if a
19·   · · · Q.· ·Let me ask this.· I understand that              19·   entertainer -- either an entertainer or a patron is
20·   Heartbreakers is classified as a sexually oriented          20·   violating that rule it's something that could get the
21·   business under the ordinances of Dickinson where it's       21·   club in trouble, right?
22·   located as well as the laws of the State of Texas; is       22·   · · · A.· ·Yes.
23·   that right?                                                 23·   · · · Q.· ·So the managers at the club are responsible or
24·   · · · A.· ·That is correct.                                 24·   would interfere with any violation that they perceive of
25·   · · · Q.· ·And there are some laws in place governing the   25·   that ordinance or law related to contact between

                                                      Page 55                                                           Page 57
·1·   dress of entertainers in sexually oriented businesses; is   ·1·   entertainers and customers, right?
·2·   that right?                                                 ·2·   · · · A.· ·Yes.
·3·   · · · A.· ·Yes, the dress has to follow the, the laws of    ·3·   · · · Q.· ·And that might include if there was
·4·   the State of Texas and the ordinance of the City of         ·4·   inappropriate contact -- contact happening during a
·5·   Dickinson.                                                  ·5·   dancer's performance or private lap dance; is that right?
·6·   · · · Q.· ·And, and I understand that the -- that if, if    ·6·   · · · A.· ·Yes.
·7·   a entertainer was violating that ordinance or law, she      ·7·   · · · Q.· ·It's also true if a patron or customer was
·8·   wasn't wearing something that complied with that, it's      ·8·   trying to inappropriately contact that entertainer in
·9·   something that might get the club in trouble; is that       ·9·   violation of the ordinance or law, the manager would then
10·   true?                                                       10·   interfere and maybe ask that patron or customer to leave
11·   · · · A.· ·That is correct.                                 11·   the club; is that true?
12·   · · · Q.· ·And so I also understand that the, the           12·   · · · A.· ·Yes.
13·   managers as a result will interfere or say something to     13·   · · · Q.· ·Who decided to change the club's hours from --
14·   an entertainer who is not complying with that ordinance     14·   I, I understood it used to open at, at 11:30 and stay
15·   or law, right?                                              15·   open until 2:00 a.m. pre pandemic; is that right?
16·   · · · A.· ·Yes.                                             16·   · · · A.· ·Well, Monday through Friday.· On Saturdays and
17·   · · · Q.· ·My understanding of that rule specific to        17·   Sundays we were open at noon till 2:00 a.m.
18·   their dress is that at least on the bottom, on the bottom   18·   · · · Q.· ·Okay.· Who decided to change that opening time
19·   half they have to have coverage over their vaginal area,    19·   to only opening at 4:00?
20·   that part has to be covered in an -- in a non-see-through   20·   · · · A.· ·I believe our general manager decided that.
21·   material; is that right?                                    21·   · · · Q.· ·Mr. Forster?
22·   · · · A.· ·Yes.                                             22·   · · · A.· ·Prob -- probably with consulting with Mike
23·   · · · Q.· ·Is there any other rules that you're aware of    23·   Armstrong.
24·   related to ordinance or law related to the clothing of --   24·   · · · Q.· ·And do you know why that decision was made?
25·   · · · A.· ·I believe the -- I believe the buttocks also     25·   · · · A.· ·Because we had no business on the day shift.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 16 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         58 to 61
                                                      Page 58                                                           Page 60
·1·   · · · Q.· ·Do you know Stacey Kibodeaux?                    ·1·   award was given in -- I should say interim award to be
·2·   · · · A.· ·No.                                              ·2·   specific, after the interim award came down in the
·3·   · · · Q.· ·Do you know Jean Hoffmeister?                    ·3·   Kaitlyn Jersey case?
·4·   · · · A.· ·No.                                              ·4·   · · · A.· ·It was probably my husband Mike Armstrong.
·5·   · · · Q.· ·Do you know Roxanne Murillo?                     ·5·   · · · Q.· ·And who would he have told?
·6·   · · · A.· ·No.                                              ·6·   · · · A.· ·Our general manager, George Forster or he
·7·   · · · Q.· ·How about Hailey Chapman?                        ·7·   might have just gone and taken them down himself.
·8·   · · · A.· ·No.                                              ·8·   · · · Q.· ·Do you know if this sign at Heartbreakers 138,
·9·   · · · Q.· ·Did you know Kaitlyn Jersey?                     ·9·   is that still up?
10·   · · · A.· ·No.                                              10·   · · · A.· ·I don't know.· I haven't been down into the
11·   · · · Q.· ·Do you know or have a relationship with like     11·   dancers' dressing room where that would be.· I, I don't
12·   socially any of the entertainers at Heartbreakers?          12·   know.
13·   · · · A.· ·At the present time, no.· At the beginning of    13·   · · · Q.· ·Now do you know if Jen and Brandy, do they
14·   our club many years ago I did.                              14·   still buy, you know, deodorant, products to keep in the
15·   · · · Q.· ·Now I noticed something you said earlier about   15·   dressing room for the entertainers?
16·   the signs, that you took down the signs after that          16·   · · · A.· ·I'm sure they do.
17·   arbitration award with Kaitlyn Jersey; is that right?       17·   · · · Q.· ·It's not an expenditure that they are
18·   · · · A.· ·That was supposed to happen.· I haven't been     18·   reimbursed for by the club, right?
19·   down· n the club today to make sure before I came up here   19·   · · · A.· ·No, it's not.
20·   but that was supposed to happen, yes.                       20·   · · · Q.· ·Now this Heartbreakers 139, I understand this
21·   · · · Q.· ·Well, let me ask and I'm going to mark this      21·   is an old version of this --
22·   exhibit whatever we're on.                                  22·   · · · A.· ·Yes.
23·   · · · · · · · ·THE COURT REPORTER:· 3.                      23·   · · · Q.· ·-- because of the times, right?· It shows that
24·   · · · Q.· ·(By Ms. Montgomery)· 3.· I'll mark, mark this    24·   it was still open --
25·   as Exhibit 3, represent to you this is some of those        25·   · · · A.· ·Yes.

                                                      Page 59                                                           Page 61
·1·   signs that have been produced in this case.                 ·1·   · · · Q.· ·-- at 11:30?
·2·   · · · A.· ·On this --                                       ·2·   · · · A.· ·Yes.
·3·   · · · Q.· ·Go ahead.                                        ·3·   · · · Q.· ·But this shows a representation of the floor
·4·   · · · A.· ·On this particular sign that you have up here    ·4·   fees that are -- the range of floor fees that are paid by
·5·   now --                                                      ·5·   the entertainers when they check out for the evening; is
·6·   · · · Q.· ·Mh-mh.                                           ·6·   that correct?
·7·   · · · A.· ·-- I can attest to the fact cause I was in the   ·7·   · · · A.· ·Yes.
·8·   club not long ago that they do climb on the stage, so the   ·8·   · · · Q.· ·And I, I know it would be updated now but is
·9·   sign must be down that they can't climb on it.· They sit    ·9·   there something like this with the updated hours up
10·   on the stage, they put their feet on it, do splits or       10·   somewhere in the club or the dressing room?
11·   whatever to get up on the stage.· They do not always use    11·   · · · A.· ·I haven't been down there to check but
12·   the stairs.                                                 12·   hopefully there is.
13·   · · · Q.· ·So it's your understanding that the sign in      13·   · · · Q.· ·You would -- they're still paying the floor
14·   Exhibit 3 at Heartbreakers 137, which references using      14·   fees, right?
15·   the stairs to get on the main stage and signed by Whitey,   15·   · · · A.· ·Yes.
16·   who I understand to be the general manager, Mr. Forster,    16·   · · · Q.· ·I understand on this next Heartbreakers 140 of
17·   that's no longer up in the club.· Is that your              17·   Exhibit 3, this next sign is for a boutique that's
18·   understanding?                                              18·   located inside of Heartbreakers somewhere; is that right?
19·   · · · A.· ·It's my understanding, yes.                      19·   · · · A.· ·Yes.
20·   · · · Q.· ·But I think you said you hadn't gone through     20·   · · · Q.· ·Does the -- do you know who runs the boutique
21·   to actually check to make sure that they were pulled        21·   right now?
22·   down?                                                       22·   · · · A.· ·I can't remember her name.
23·   · · · A.· ·Not in the last couple of days, no.              23·   · · · Q.· ·Is that space leased?· Whoever runs it, do
24·   · · · Q.· ·Did -- who did you inform -- well, did you       24·   they lease that from ADA Investments or Heartbreakers?
25·   inform anybody to take the signs down after the final       25·   · · · A.· ·Yes.· Yes.· They -- I believe they were paying


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 17 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         62 to 65
                                                      Page 62                                                           Page 64
·1·   300 a month for the space.                                  ·1·   · · · · · · · ·MR. KING:· It's my battery.
·2·   · · · Q.· ·And I understand the, the boutique sells like    ·2·   · · · · · · · ·THE WITNESS:· Oops, I touched something
·3·   entertainer like outfits; is that right?                    ·3·   and it went off.
·4·   · · · A.· ·Yes.· Yes.                                       ·4·   · · · · · · · ·MR. KING:· There you go.· Okay.
·5·   · · · Q.· ·Do you know if this Heartbreakers 141, is that   ·5·   · · · Q.· ·(By Ms. Montgomery)· Okay?
·6·   still up in the club?                                       ·6·   · · · A.· ·Okay.
·7·   · · · A.· ·I don't know.· I -- but I believe it is          ·7·   · · · Q.· ·This is Exhibit 4 to the deposition and I
·8·   against the law so.                                         ·8·   understand is another arbitration we haven't talked
·9·   · · · Q.· ·You don't know -- but you don't know whether     ·9·   about.· Is Reina Jones a former -- I hope I'm saying her
10·   the sign is still up in the club?                           10·   name right, Reina Jones, is that a former entertainer
11·   · · · A.· ·No, I don't.                                     11·   that was at Heartbreakers?
12·   · · · Q.· ·Do you know if Heartbreakers 142, this sign      12·   · · · A.· ·Yes.
13·   signed by Whitey, is that up in the club?                   13·   · · · Q.· ·And it looks like this final hearing, this
14·   · · · A.· ·I don't know.                                    14·   arbitration was in November of 2019.· Do you recall that?
15·   · · · Q.· ·I think these are some federal mandated          15·   · · · A.· ·Yes.
16·   posters maybe, one from the IRS.                            16·   · · · Q.· ·And did you participate in the final -- in the
17·   · · · A.· ·Yes.                                             17·   arbitration hearing on this case?
18·   · · · Q.· ·Are these -- especially this Heartbreakers       18·   · · · A.· ·No.
19·   145, I know it's small, are these posters up in the club?   19·   · · · Q.· ·Do you recall providing any deposition
20·   · · · A.· ·Somewhere.· They -- we have a poster lady that   20·   testimony in the Reina Jones case?
21·   comes around to sell us these.· She brings the updated      21·   · · · A.· ·No.
22·   ones and sells them to us.· I don't know how often she      22·   · · · Q.· ·Okay.· Do you recall that for the purposes of
23·   comes, if she comes every six months or every year but      23·   this arbitration that it looks like Heartbreakers agreed
24·   she specifically comes to sell us posters.                  24·   that Ms. Jones was an employee under the Fair Labor
25·   · · · Q.· ·And does she -- and the, and the posters she's   25·   Standards Act?

                                                      Page 63                                                           Page 65
·1·   selling you are the, the federal like employee, employer,   ·1·   · · · A.· ·I would have to read it again.· I don't know
·2·   other mandated --                                           ·2·   what we agreed to.
·3·   · · · A.· ·Yes.                                             ·3·   · · · Q.· ·Were you participating in the legal
·4·   · · · Q.· ·-- posters, right?                               ·4·   representation of Heartbreakers on this case?· Did you
·5·   · · · A.· ·Yes.                                             ·5·   work with the attorneys and get them the information they
·6·   · · · Q.· ·Okay.· And they're up -- you don't -- do you     ·6·   needed for this Reina Jones case?
·7·   know where they're up in the club?                          ·7·   · · · A.· ·I probably did, yes.
·8·   · · · A.· ·I believe they're back toward the kitchen        ·8·   · · · Q.· ·Let me say it this way.· Well, did Mr.
·9·   area.                                                       ·9·   Armstrong also work with the attorneys on this case?
10·   · · · Q.· ·Okay.                                            10·   · · · A.· ·Yes.
11·   · · · A.· ·There's a hallway that goes from the check-out   11·   · · · Q.· ·Is that something that Mr. Armstrong would
12·   office to the kitchen, I -- they used to be on that wall    12·   typically be in charge of is if there's any legal action
13·   back there in that area.                                    13·   related to the club?
14·   · · · Q.· ·This last poster at Heartbreakers 148, do you    14·   · · · A.· ·Yes.
15·   know if that poster is still up in the club?                15·   · · · Q.· ·That's not something that like a, a manager
16·   · · · A.· ·I don't know but it should be taken down.        16·   would handle on behalf of the club, is it?
17·   · · · Q.· ·Okay.· Is this one of the ones that should       17·   · · · A.· ·Well, the general manager would be involved.
18·   have been taken down because of the, the Jersey             18·   · · · Q.· ·Right but I mean as far as, you know, hiring
19·   arbitration award or for some other reason?                 19·   an attorney or working with that attorney throughout the
20·   · · · A.· ·I, I don't know why it was taken down but it,    20·   litigation, is that something that the general manager
21·   it should be taken down if it hasn't been.                  21·   would be responsible for or is Mr. Armstrong in charge of
22·   · · · Q.· ·I'm going to show you what I'm marking as        22·   that?
23·   Exhibit 4, if I can get it to open.                         23·   · · · A.· ·Mike would -- my -- my husband Mike would be
24·   · · · · · · · ·THE WITNESS:· Your battery is running low.   24·   in charge.
25·   · · · · · · · ·MS. MONTGOMERY:· Okay.                       25·   · · · Q.· ·Do you -- both you and your husband maintain


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 18 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         66 to 69
                                                      Page 66                                                           Page 68
·1·   offices at the club?                                        ·1·   paid?
·2·   · · · A.· ·Yes.                                             ·2·   · · · A.· ·I do cause they work directly for me.
·3·   · · · Q.· ·And you told me that you, you work generally     ·3·   · · · Q.· ·And do you also make decisions about the
·4·   Monday through Friday for about four to six hours each      ·4·   insurance for the club?
·5·   day; is that right?                                         ·5·   · · · A.· ·Yes.
·6·   · · · A.· ·Yes.                                             ·6·   · · · Q.· ·Is that something that Mr. Armstrong is
·7·   · · · Q.· ·And your role or responsibility is mostly        ·7·   involved in or do you do that on your own?
·8·   related to the business end reviewing expenditures and      ·8·   · · · A.· ·He would be involved.
·9·   financial records and so forth for the club; is that        ·9·   · · · Q.· ·And working with the CPA, is that something
10·   right?                                                      10·   that you're kind of responsible for at the club?
11·   · · · A.· ·Yes, making sure there's money to pay all the    11·   · · · A.· ·Yes.
12·   bills and the payroll.                                      12·   · · · Q.· ·Does Mr. Armstrong get involved in that at
13·   · · · Q.· ·Okay.· Is -- does -- what hours or days does     13·   all?
14·   Mr. Armstrong typically work at the club?                   14·   · · · A.· ·He just goes through me to ask his questions.
15·   · · · A.· ·Whenever he wants to.                            15·   · · · Q.· ·You're the main person that interacts with the
16·   · · · Q.· ·Is there any set day or time that he's           16·   CPA?
17·   normally at the club?                                       17·   · · · A.· ·Yes.
18·   · · · A.· ·No.                                              18·   · · · Q.· ·And you're the main person that deals with the
19·   · · · Q.· ·Does he come in usually to the club?             19·   financials related to the club other than the CPA?
20·   · · · A.· ·He comes in maybe two to three days a week.      20·   · · · A.· ·Yes.
21·   Usually Fridays to sign checks and, and to check with the   21·   · · · Q.· ·And you're the supervisor of Barbara who's the
22·   general manager of what's going on in the club and that's   22·   office manager and also handles some of the financials
23·   about it.                                                   23·   related to the club?
24·   · · · Q.· ·Is Mr. Armstrong a signatory I'm guessing on     24·   · · · A.· ·Yes.
25·   the bank account for the club?                              25·   · · · Q.· ·What do the managers have to provide you at --

                                                      Page 67                                                           Page 69
·1·   · · · A.· ·Yes.                                             ·1·   you know, if they're closing the club say for the
·2·   · · · Q.· ·Are you also a signatory on that account?        ·2·   evening, what is brought to the office at the end of the
·3·   · · · A.· ·Yes.                                             ·3·   evening by the managers?
·4·   · · · Q.· ·Is there anyone else that is a signatory on      ·4·   · · · A.· ·Well, the manager actually does the checkout
·5·   that account?                                               ·5·   and each bartender or -- and waitress brings their money
·6·   · · · A.· ·Yes.· We have several accounts.· The general     ·6·   and report to them and it's put on a check-out sheet.
·7·   manager can sign on the operating and the transfer          ·7·   · · · Q.· ·And then are the check-out sheets provided to
·8·   accounts I believe and Barbara Barich can also sign on      ·8·   Barbara?
·9·   those two accounts, but I'm the only one that signs on      ·9·   · · · A.· ·Yes, then the next morning Barbara and her
10·   the payroll account.· We just never changed it over the     10·   assistant will verify the amounts and reconcile the day's
11·   years because they come from a payroll processing           11·   receipts.
12·   company.                                                    12·   · · · Q.· ·Do they do like the bank deposits and things?
13·   · · · Q.· ·And you meaning, Mr. Armstrong, also does not    13·   · · · A.· ·Yes.· On Thursdays when we get the change for
14·   sign on the payroll account or can he do it too?            14·   the weekends, a manager accompanies Barbie to the bank.
15·   · · · A.· ·I believe he can sign on it, yes, but I'm        15·   Other than that she goes on her own because we have very
16·   not -- but I'm not sure.· It's been so long ago since we    16·   little cash deposited on a daily basis.· It's mainly
17·   started.                                                    17·   credit cards.
18·   · · · Q.· ·That's fair.· Did -- who determines the, the,    18·   · · · Q.· ·Okay.· Let's take a five minute break and kind
19·   the salaries of, of the managers?                           19·   of review where we're at and see what else we need to
20·   · · · A.· ·Mike Armstrong.                                  20·   discuss.· Okay?
21·   · · · Q.· ·Who would determine the pay of, of, of anyone    21·   · · · · · · · ·MR. KING:· Okay.
22·   else at the club?                                           22·   · · · · · · · ·(Brief recess from 11:57 a.m. to 12:03
23·   · · · A.· ·The general manager would be in charge of        23·   p.m.)
24·   everybody except the office staff.                          24·   · · · Q.· ·(By Ms. Montgomery)· Okay.· Let me ask about a
25·   · · · Q.· ·Who determines what the office staff gets        25·   couple more things I, I need to clear up.· I understand


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 19 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         70 to 73
                                                      Page 70                                                           Page 72
·1·   that it's ADA Investments which is owned by you and your    ·1·   · · · A.· ·Yes.
·2·   husband and that owns the, the building and the, and the    ·2·   · · · Q.· ·What's the amount of the rent?
·3·   land, right?                                                ·3·   · · · A.· ·12,500 a month.
·4·   · · · A.· ·Yes.                                             ·4·   · · · Q.· ·And has it been that amount since at least
·5·   · · · Q.· ·And does ADA -- the mortgage that's with         ·5·   2017?
·6·   Moody's does that have ADA Investments -- is that the       ·6·   · · · A.· ·I think so.· I'm not sure we -- we renewed --
·7·   mortgagee on that?                                          ·7·   we had to have a new lease but I can't remember how many
·8·   · · · A.· ·Well, there are actually several entities        ·8·   years ago it's been.
·9·   that, that are on that debt.                                ·9·   · · · Q.· ·Do you have a copy of the lease agreement?
10·   · · · Q.· ·Okay.                                            10·   · · · A.· ·Yes, I do.· Not with me but on my computer.
11·   · · · A.· ·A&D Interests, Inc., ADA Investments, another    11·   · · · Q.· ·Who signed, who signed the lease agreement on
12·   corporation Mainsail Developers, Inc.· The bank wanted      12·   behalf of A&D Interests, Inc.?
13·   all the security they could get.                            13·   · · · A.· ·Mike Armstrong and me as the secretary.· Mike
14·   · · · Q.· ·Okay.· Who's the other -- we talked about ADA    14·   as president and me as the secretary/treasurer.
15·   Interests and -- and -- A&D Interests, Inc. which is --     15·   · · · Q.· ·Other than the mortgage payment and we just
16·   does business as Heartbreakers and ADA Investments which    16·   went through that, how that process works, is there
17·   I understand is a joint venture between you and -- with     17·   anything else that ADA -- well, ADA Investments has or
18·   you and your husband.· What's the other corporate entity    18·   financially is tied to Heartbreakers?
19·   that's on that mortgage?                                    19·   · · · A.· ·Besides the lease agreement?
20·   · · · A.· ·It's a corporation that was started by my        20·   · · · Q.· ·Right.
21·   husband and two of his friends, once -- one of whom has     21·   · · · A.· ·No.
22·   since died, one of those is George Forster, the other one   22·   · · · Q.· ·Besides the lease and mortgage, is there any
23·   was Ronnie Cole and they started it to, to buy a            23·   other connection between those two corporate entities?
24·   restaurant in San Leon and that property has since been     24·   · · · A.· ·Which two?· You mean Mainsail and A -- A&D or
25·   sold and all the property that Mainsail owned has since     25·   ADA and A&D?

                                                      Page 71                                                           Page 73
·1·   been sold.                                                  ·1·   · · · Q.· ·ADA and A&D?
·2·   · · · Q.· ·What's the name of the corporate --              ·2·   · · · A.· ·Okay.· ADA is the joint venture so I, I get
·3·   corporation?                                                ·3·   confused when people call it a corporation.· So the only
·4·   · · · A.· ·Mainsail, M-a-i-n-s-a-i-l, Development, Inc.     ·4·   thing I know that between them is the ADA owns the
·5·   · · · Q.· ·But they are still listed as a mortgagee on      ·5·   property that --
·6·   the property on which Heartbreakers is?                     ·6·   · · · Q.· ·Okay.
·7·   · · · A.· ·Yes, they were the original holder of the        ·7·   · · · A.· ·-- that it leases to A&D.
·8·   note.                                                       ·8·   · · · Q.· ·Okay.· You said in -- after the -- during the
·9·   · · · Q.· ·And do they have any interest in                 ·9·   pandemic at the beginning the club was shut down and that
10·   Heartbreakers, the business?                                10·   it opened back up and it was going to be shut back down
11·   · · · A.· ·No.· No.                                         11·   or it was shut back down again because the governor or
12·   · · · Q.· ·Now does the mortgage -- the payment for the     12·   Houston or somebody shut down the bars; is that right?
13·   mortgage, does Heartbreakers, ADA (sic) Interests, Inc.     13·   · · · A.· ·It was the governor.· We're not in Houston.
14·   make that payment to ADA who then pays Moody Bank or how    14·   · · · Q.· ·Okay.· And when the governor shut down the
15·   does that exchange work?                                    15·   bars, you said that Heartbreakers applied for some sort
16·   · · · A.· ·Well, ADA receives lease income from A&D         16·   of food permit?
17·   Interests, Inc. and then ADA loans the money to Mainsail,   17·   · · · A.· ·Yes.· There's a thing called the 51 percent
18·   or it has in the past, to pay the note.· Mainsail, when     18·   rule and you have to sell more than 51 percent of not
19·   it sold the property now has cash to pay its own note.      19·   just -- it's -- I don't know exactly how to explain it
20·   · · · Q.· ·Okay.· So Mainsail actually pays directly to     20·   but alcohol has to be less than 51 percent of your
21·   Moody?                                                      21·   sales but --
22·   · · · A.· ·Yes.                                             22·   · · · Q.· ·So that --
23·   · · · Q.· ·Is there a lease agreement between ADA           23·   · · · A.· ·-- but -- but the other sales can include all
24·   Interests, Inc. -- A and -- hold on.· Is there a lease      24·   kinds of things that we sell.
25·   between A&D Interests, Inc. and ADA Investments?            25·   · · · Q.· ·And so you applied to be considered not just a


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 20 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         74 to 77
                                                      Page 74                                                           Page 76
·1·   bar?                                                        ·1·   · · · A.· ·Well, there's a list in the ordinance.
·2·   · · · A.· ·Right.· We've always had a full kitchen and      ·2·   There's a thumbprint and their ID and background check.
·3·   we've always sold food and given away food.· We give away   ·3·   I think those are the three main things.· I'm not sure
·4·   steaks still on Saturdays and Sundays.                      ·4·   what else is in there but -- and they come -- the City of
·5·   · · · Q.· ·But you had never applied for this particular    ·5·   Dickinson comes every year to inspect and one particular
·6·   permit to be considered a business that is not primarily    ·6·   person comes up and goes through all those folders.
·7·   in the sales of alcohol; is that right?                     ·7·   Sometimes we think they look at every I think single one
·8·   · · · A.· ·That is correct.· We didn't need it.             ·8·   of them to make sure all those things are in there.
·9·   · · · Q.· ·And you had it and that's -- was done in --      ·9·   · · · Q.· ·Is there any -- other than the, the, the
10·   sometime in the summer of 2020?                             10·   criminal background check and the, and the ID and
11·   · · · A.· ·Yes.                                             11·   thumbprint, is there anything else that a, a new
12·   · · · Q.· ·Okay.· Is that permit still in place as we sit   12·   entertainer is required to provide to Heartbreakers
13·   here today?                                                 13·   before she can start performing there?
14·   · · · A.· ·Yes.                                             14·   · · · A.· ·I'm not sure I understand the question.
15·   · · · Q.· ·The paperwork that a new entertainer might       15·   · · · Q.· ·Is there anything else, any other
16·   have to sign or fill out when she is first starting to      16·   documentation that the entertainer has to provide to
17·   work at Heartbreakers, is that something that you           17·   Heartbreakers before she can perform there?
18·   developed on behalf of Heartbreakers?                       18·   · · · A.· ·I don't think so but I'm, you know, trying to
19·   · · · A.· ·Are you talking about the, the agreements?       19·   wrap my brain.· I'm not down there handling that on a
20·   · · · Q.· ·Yes.                                             20·   daily basis and I don't --
21·   · · · A.· ·We had an attorney that helped us develop        21·   · · · Q.· ·Do you --
22·   that.                                                       22·   · · · A.· ·-- I don't really look at the folders when
23·   · · · Q.· ·Is that something that you worked with an        23·   they come upstairs.· They just go in the filing cabinet
24·   attorney on or did Mr. Armstrong do that?                   24·   and --
25·   · · · A.· ·My -- Mr. Armstrong and I both worked with the   25·   · · · Q.· ·Do they -- I'm sorry, I didn't mean to cut you

                                                      Page 75                                                           Page 77
·1·   attorney.                                                   ·1·   off.
·2·   · · · Q.· ·Now there was another -- I'm going to show       ·2·   · · · A.· ·It's okay.
·3·   you -- I'll show you what I'll mark as Exhibit 5 to your    ·3·   · · · Q.· ·Did you -- do the entertainers have to redo or
·4·   depo and I'll let you look at this real quick.· This is     ·4·   re-sign any of that information if -- you know, every
·5·   Heartbreakers 2.· Do you know who came up with this         ·5·   year or so or every so often?
·6·   particular document for a new entertainer to sign?          ·6·   · · · A.· ·They -- I believe the ordinance says
·7·   · · · A.· ·I don't recall who was involved in this.         ·7·   everything has to be updated every six months for the
·8·   · · · Q.· ·Is it something that you were involved in?       ·8·   entertainers --
·9·   · · · A.· ·I doubt it.                                      ·9·   · · · Q.· ·Okay.
10·   · · · Q.· ·Okay.· Was it something that Mr. Armstrong was   10·   · · · A.· ·-- and I think for the employees they have to
11·   involved in?                                                11·   be or it's every year.
12·   · · · A.· ·That's a possibility.· He and the general        12·   · · · · · · · ·MS. MONTGOMERY:· Okay.· I will pass the
13·   manager are concerned with the operations of the club.      13·   witness.· Well, I'll say that with the reservation and
14·   · · · Q.· ·Okay.· Do you know if the entertainers, as we    14·   I'll put the reservation at the end.
15·   sit here today, if a -- if -- do the entertainers still     15·   · · · · · · · ·MR. KING:· Okay.· Ms. Armstrong, you've --
16·   sign this, this form, the Heartbreaker policy?              16·   · · · · · · · ·THE COURT REPORTER:· I can't hear you.
17·   · · · A.· ·I don't believe so.                              17·   · · · · · · · ·MR. KING:· Oh, you can't hear me?
18·   · · · Q.· ·This one was signed in January of 2019.· Do      18·   · · · · · · · ·THE COURT REPORTER:· There, you have to
19·   you know if any entertainer signed this policy after        19·   speak up.· Sorry.
20·   January of 2019?                                            20·   · · · · · · · ·MR. KING:· Oh, sorry.
21·   · · · A.· ·I don't know.· I, I rarely see the               21·   · · · · · · · · · · · · EXAMINATION
22·   entertainers' folders that we have to keep for the City     22·   QUESTIONS BY MR. KING:
23·   of Dickinson so.                                            23·   · · · Q.· ·Ms. Armstrong, you've been with Heartbreakers
24·   · · · Q.· ·What do you have to keep in a entertainer's      24·   for how long approximately?
25·   folders for the City of Dickinson?                          25·   · · · A.· ·In November it'll be 36 years.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 21 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         78 to 81
                                                      Page 78                                                           Page 80
·1·   · · · Q.· ·And in that time you've probably seen a lot of   ·1·   · · · Q.· ·Do they have to wear any kind of uniform or
·2·   dancers come through, right?                                ·2·   attire?
·3·   · · · A.· ·Yes.                                             ·3·   · · · A.· ·Yes, they wear a black vest and black shorts
·4·   · · · Q.· ·Okay.· Do all dancers perform on stage in the    ·4·   which is provided by the -- well, I think that they
·5·   same way?                                                   ·5·   provide their own shorts but we provide the vests.
·6·   · · · A.· ·No, they don't all perform on stage.             ·6·   · · · Q.· ·Do the, the dancers have to do any of these
·7·   · · · Q.· ·What do you mean by that?                        ·7·   kinds of things that we've just discussed?
·8·   · · · A.· ·Well, they elect just to dance for customers     ·8·   · · · A.· ·No, they have -- they're in complete control
·9·   or just sit with customers and don't want to be on stage.   ·9·   whatever they wear and whenever they work.
10·   · · · Q.· ·Do all dancers even use the pole?                10·   · · · Q.· ·Now has that always been the case at
11·   · · · A.· ·No.· There are a lot of dancers that don't       11·   Heartbreakers?
12·   know how to use a pole.                                     12·   · · · A.· ·As far as I remember, entertainers could
13·   · · · Q.· ·Do dancers ever bring their own equipment to     13·   always come and go when they wanted to.· We, we did try
14·   perform on stage?                                           14·   to make them stay till the end of the shift at one point
15·   · · · A.· ·Yes.· We have one entertainer who brings a       15·   but when all these rulings started happening now they can
16·   hoop and she hangs it from the ceiling and performs         16·   leave whenever they want to.
17·   acrobatics on it and it -- years ago we had a girl that     17·   · · · Q.· ·Ms. Montgomery asked you if the club could get
18·   put a chair on stage and performed acrobatics on it.        18·   in trouble for not following the various and sundry laws
19·   · · · Q.· ·Do you know if the club would allow any          19·   and regulations that a sexually oriented business has to
20·   entertainer to use a hoop or a chair on stage if they       20·   comply with.· Do you, do you recall that question?
21·   wanted?                                                     21·   · · · A.· ·Yes.
22·   · · · A.· ·Anytime.                                         22·   · · · Q.· ·Can you describe what sort of consequences
23·   · · · Q.· ·Do any dancers ever decide to quit dancing and   23·   could happen?
24·   become bar attenders or waitresses?                         24·   · · · A.· ·Well, there could be fines and there could be
25·   · · · A.· ·Yes.· We've had entertainers become waitresses   25·   loss of our license, which would be loss of our total

                                                      Page 79                                                           Page 81
·1·   and we've had waitresses become entertainers.               ·1·   business.
·2·   · · · Q.· ·Why is that?                                     ·2·   · · · Q.· ·What kind of licenses are we talking about?
·3·   · · · A.· ·Well, entertainers would become a waitress       ·3·   · · · A.· ·The TABC license and the sexually oriented
·4·   because they want to work a regular shift and get paid      ·4·   business permit from the City of Dickinson.
·5·   the minimum wage and be on a schedule and then the          ·5·   · · · Q.· ·And if the club lost any of these licenses you
·6·   opposite is true.· If a waitress didn't want to be on a     ·6·   talked about what, what would the consequence be?
·7·   schedule and didn't -- wanted to make more money than she   ·7·   · · · A.· ·Oh, we, we would be out of business.
·8·   was making she could work as an entertainer.                ·8·   · · · Q.· ·Do you -- does the club ever get visits from
·9·   · · · Q.· ·Does Heartbreakers have any requirements about   ·9·   say TABC officials?
10·   how waitresses do their jobs?                               10·   · · · A.· ·Yes, occasionally we do.
11·   · · · A.· ·Oh, yes.                                         11·   · · · Q.· ·And what do they look for?
12·   · · · Q.· ·Like what?                                       12·   · · · A.· ·They mainly have been looking at liquor
13·   · · · A.· ·Well, they have to know how to process the       13·   bottles to make sure their stamps are on them and
14·   credit cards and, you know, enter all the information as    14·   sometimes they walk around.· I'm never there when they
15·   for drinks and there's a little training that they go       15·   come in so I'm not exactly sure what they're looking for.
16·   through with another waitress before they can start and     16·   · · · Q.· ·Do the any officials with the City of
17·   they have to know how to approach the customers and, and    17·   Dickinson ever come in to inspect the club?
18·   go back to customers to purchase drinks.                    18·   · · · A.· ·They mainly come in once a year when it's time
19·   · · · Q.· ·Do they have to follow a schedule?               19·   to renew our permit and they inspect the premises for the
20·   · · · A.· ·Yes, they follow a schedule.                     20·   signs that we're supposed to display according to the
21·   · · · Q.· ·What happens if a, if a -- if you have a         21·   ordinance and go through the files to make sure that
22·   waitress that just decides not to show up when she's        22·   we're getting the thumbprints and doing the background
23·   scheduled?                                                  23·   checks and they look at the facility's -- the fire
24·   · · · A.· ·There's a possibility if she doesn't have a      24·   marshal comes in at this time and -- to see if there's
25·   good reason that she would be fired.                        25·   any things that needs to be fixed or replaced for


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 22 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         82 to 85
                                                      Page 82                                                           Page 84
·1·   safeties.                                                   ·1·   · · · A.· ·That is true.
·2·   · · · Q.· ·Does the club require dancers to sell alcohol?   ·2·   · · · Q.· ·Does -- do you or the club, for that matter,
·3·   · · · A.· ·No.                                              ·3·   know what dancers did when Heartbreakers was closed for
·4·   · · · Q.· ·You, you said that with a little emphasis.       ·4·   several weeks after Hurricane Harvey?· What -- do you
·5·   Why is that?                                                ·5·   know what dancers did for a living?
·6·   · · · A.· ·Everybody that sells alcohol has to be           ·6·   · · · A.· ·Well, a lot of them started on these video
·7·   certified, TABC certified.                                  ·7·   chat things, or whatever you call it, where they showed
·8·   · · · Q.· ·Does the club encourage dancers to say help      ·8·   their bodies to people and were sent money through Venmo
·9·   with the sale of alcohol?                                   ·9·   or whatever devices people use these days to send money
10·   · · · A.· ·No.                                              10·   to other people.
11·   · · · Q.· ·Why?                                             11·   · · · Q.· ·And how do you know that?
12·   · · · A.· ·Well, because part of your TABC training is      12·   · · · A.· ·I've talked to several people that did it.
13·   that you don't encourage people to buy drinks whenever      13·   · · · Q.· ·What about when the club was closed during the
14·   they're intoxicated or on the verge of being intoxicated    14·   pandemic last year, do you know, do you have any
15·   and since they're not seller trained they don't             15·   knowledge of what dancers did since they couldn't work at
16·   understand those principles.· So, therefore, we don't       16·   Heartbreakers?
17·   want them to encourage people to buy drinks cause they      17·   · · · A.· ·They did the same thing.· They, they couldn't
18·   don't know what the rules are.                              18·   go without making any money.· They had regular customers
19·   · · · Q.· ·What, what would the club do if a manager ever   19·   they got in touch with and asked them to send the money
20·   encouraged a dancer to, you know, try to talk beverages     20·   or sent them a picture of themselves and I don't know if
21·   to customers, alcoholic beverages?                          21·   total nudity or partial nudity or whatever and then they
22·   · · · A.· ·Well, he would be talked to and if it            22·   got Venmoed money.
23·   continued he'd be fired.                                    23·   · · · Q.· ·What do you mean by regular customers?
24·   · · · Q.· ·What about the food, does the club encourage     24·   · · · A.· ·Well, there are gentlemen that come in that
25·   dancers to sell food on behalf of the club?                 25·   want to see particular ladies and so they become -- they

                                                      Page 83                                                           Page 85
·1·   · · · A.· ·We don't encourage dancers to do anything for    ·1·   come in just to see those particular ladies.
·2·   the club.· They're there -- they're there to make their     ·2·   · · · Q.· ·Do you have any idea how common that is?
·3·   own money in their own particular way.                      ·3·   · · · A.· ·Very.
·4·   · · · Q.· ·Do dancers ever serve food?                      ·4·   · · · Q.· ·And what are you basing that statement on?
·5·   · · · A.· ·No.                                              ·5·   · · · A.· ·Because dancers will say themselves Well, I
·6·   · · · Q.· ·Why?                                             ·6·   have a customer coming in and they, they will have told
·7·   · · · A.· ·They're not -- they're -- they're not hired to   ·7·   them that they're no longer working at another club,
·8·   do that.                                                    ·8·   they're working at Heartbreakers.· They're coming to see
·9·   · · · Q.· ·If a, a dancer say claimed that a manager told   ·9·   them in particular.
10·   her that she had to groom her private areas, shall we       10·   · · · Q.· ·Okay.· Would Heartbreakers pay a dancer
11·   say, do you have any idea why that, that kind of dictate    11·   minimum wage or overtime if that's what a dancer wanted?
12·   might be set, set forth?                                    12·   · · · A.· ·Sure.
13·   · · · A.· ·Well, I don't think anybody wants to, to see     13·   · · · Q.· ·Why?
14·   that to tell you the truth.· I -- I -- I think that would   14·   · · · A.· ·Because it's her choice.
15·   be a matter of personal hygiene that should be taken care   15·   · · · Q.· ·And what, what would happen if a dancer said
16·   of by the individual.                                       16·   Well, I want to be paid minimum wage and overtime?
17·   · · · Q.· ·Well, let me ask it like this.· Does the         17·   · · · A.· ·We put them on the payroll and then we would
18·   club -- the club serves food, right?                        18·   go by the rules in that agreement, which says that we
19·   · · · A.· ·Yes.                                             19·   would take I think it says half of their dance money that
20·   · · · Q.· ·And is the club required by the state and the    20·   they make.
21·   local government to maintain a certain kind of hygiene      21·   · · · Q.· ·Okay.
22·   level within the club?                                      22·   · · · A.· ·That they would keep their own tips.
23·   · · · A.· ·Yes.                                             23·   · · · Q.· ·Now there's been some testimony in this case
24·   · · · Q.· ·And everybody in the club has to abide by        24·   I'll represent to you that no dancers have ever, quote
25·   those hygiene requirements, true?                           25·   unquote, elected to become employee type dancers.· Is


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 23 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         86 to 89
                                                      Page 86                                                           Page 88
·1·   that accurate?                                              ·1·   money to the club for floor fees?
·2·   · · · A.· ·I believe that's true but they have become       ·2·   · · · A.· ·Not that I know of.
·3·   waitresses which is a, a person who makes the minimum       ·3·   · · · Q.· ·Has there ever been?
·4·   wage and is paid by us and we pay their taxes and           ·4·   · · · A.· ·Yes, I'm sure there has been.
·5·   everything.· So they don't have to be an entertainer        ·5·   · · · Q.· ·Do you know if there has been in the last
·6·   employee.· They can be a waitress employee and then have    ·6·   three years?
·7·   all the responsibilities of that.                           ·7·   · · · A.· ·I don't know.· I -- I believe we stopped that
·8·   · · · Q.· ·Does -- do you have any knowledge as to why no   ·8·   practice a long time ago but that would be the general
·9·   dancers have ever elected to become employee dancers?       ·9·   manager's discretion there.
10·   · · · A.· ·It's not --                                      10·   · · · Q.· ·Let's see.· I just want to make sure I
11·   · · · · · · · ·MS. MONTGOMERY:· Objection, form.            11·   understand your individual role at Heartbreakers.· Have
12·   · · · · · · · ·THE COURT REPORTER:· I'm sorry, objection    12·   you ever hired or fired any dancers?
13·   to what?                                                    13·   · · · A.· ·No.
14·   · · · · · · · ·MS. MONTGOMERY:· I said objection,           14·   · · · Q.· ·Do you even have the, the power to do that?
15·   speculation.                                                15·   · · · A.· ·No.
16·   · · · · · · · ·THE COURT REPORTER:· Thank you.              16·   · · · Q.· ·In your 36 years at Heartbreakers, you're
17·   · · · Q.· ·(By Mr. King) Go ahead.                          17·   telling me that you've never hired or fired a single
18·   · · · A.· ·Okay.· I'm losing track here.· Why wouldn't      18·   entertainer?
19·   they want to become an employee?· Because they have -- as   19·   · · · A.· ·No, that has always been you left up to the
20·   an employee they have to be there at a certain time and     20·   managers.
21·   leave at a certain time, handle other people's money, our   21·   · · · Q.· ·Do you control any of their working
22·   money.· They -- they just have all kinds of rules that      22·   conditions?
23·   they have to follow and they don't want to follow any       23·   · · · A.· ·No.
24·   rules.                                                      24·   · · · Q.· ·Have you ever told a dancer how to dance?
25·   · · · Q.· ·Are you saying that dancers don't like           25·   · · · A.· ·No.

                                                      Page 87                                                           Page 89
·1·   following rules?                                            ·1·   · · · Q.· ·You say that kind of with a laugh.· Why are
·2·   · · · A.· ·That's what I'm saying.                          ·2·   you laughing?
·3·   · · · Q.· ·What is, what is the basis for that statement?   ·3·   · · · A.· ·Because I could never stand on a stage and
·4·   · · · A.· ·After 36 years I think I know what I'm talking   ·4·   dance for anybody, how would I tell anybody else how to
·5·   about.                                                      ·5·   do it.
·6·   · · · Q.· ·What -- well, why is there a, a house or floor   ·6·   · · · Q.· ·Have you ever given a dancer a schedule?
·7·   fee at the club?                                            ·7·   · · · A.· ·No.
·8·   · · · A.· ·Well, it's a, it's a part of the income of the   ·8·   · · · Q.· ·So is, is your -- is it your testimony that
·9·   club and we started it because that's what was the --       ·9·   you have absolutely no involvement with the dancer's work
10·   what all the clubs in Houston were doing at the time.       10·   at Heartbreakers?
11·   Everybody had floor fees and so we started it then and      11·   · · · A.· ·Only to go watch them on occasion.
12·   have continued it.· I'm sure all the other clubs have       12·   · · · Q.· ·So you do go down to the, the first floor
13·   continued it too.· It's -- one thing the reason that the    13·   where the floor is at from time to time, right?
14·   prices vary is to get people there on -- when we open if    14·   · · · A.· ·Yes.
15·   you -- it gives them an incentive to get there earlier if   15·   · · · Q.· ·And when you're on the floor do you ever tell
16·   the fee is lower.· So if they don't -- you know, they can   16·   managers to tell dancers what to do?
17·   get there anytime they want to but if they want a lower     17·   · · · A.· ·No.
18·   floor fee, well, they get there earlier.                    18·   · · · Q.· ·What would you say if a dancer said that when
19·   · · · Q.· ·Are floor fees absolutely fixed?                 19·   you appear on the floor managers start becoming more
20·   · · · A.· ·No, if there are no or few customers floor       20·   strict?
21·   fees are waived many times.· There's all kinds of reasons   21·   · · · A.· ·I didn't know that I was intimidating like
22·   that they could be waived for specific entertainers and     22·   that.· That's what I would say.· I always have a smile on
23·   then there's times that they're waived for everybody that   23·   my face, especially when I'm in public in, in my own
24·   walks in for a specific period of time.                     24·   club.
25·   · · · Q.· ·Is there any kind of list of dancers who owe     25·   · · · Q.· ·Do you consider yourself individually an


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 24 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         90 to 93
                                                      Page 90                                                           Page 92
·1·   employer of any dancer?                                     ·1·   · · · A.· ·No.
·2·   · · · A.· ·No.                                              ·2·   · · · Q.· ·Why?
·3·   · · · Q.· ·Do you understand that you've been named as a    ·3·   · · · A.· ·That's just not our policy.· We don't, we
·4·   Defendant in this lawsuit?                                  ·4·   don't get the dancers to -- the dancers aren't told to do
·5·   · · · A.· ·Yes.                                             ·5·   anything.
·6·   · · · Q.· ·Do you have any idea why?                        ·6·   · · · Q.· ·Now the -- there's been testimony in this case
·7·   · · · A.· ·No.                                              ·7·   that say if a dancer wants to use the booth area to
·8·   · · · Q.· ·Let's see.· Are there any things that make       ·8·   provide entertainment services that she pays a certain
·9·   Heartbreakers different from other clubs in the area that   ·9·   amount of money to the club.· Is that, is that accurate?
10·   you can think of?                                           10·   · · · A.· ·Well, halfway accurate.· She may actually hand
11·   · · · A.· ·Well, we started out in 1985.· My husband's      11·   the money to the manager but the money came from the
12·   philosophy was that the entertainers that work for us and   12·   customer that she's sitting in the booth with.· The
13·   any other -- and the employees, anybody that worked for     13·   dancer does not actually take money out of her pocket and
14·   us was not going to be badgered and intimidated.· We had    14·   pay it.
15·   heard that a lot of the other clubs the managers would      15·   · · · Q.· ·Why is that?
16·   take, especially entertainers, into a check-out room or     16·   · · · A.· ·Because that's the way it's done.· Dancers
17·   somewhere and they would, you know, just do things that     17·   don't pay for anything.· They only get the money.
18·   we thought were inappropriate and Mike said that we were    18·   · · · Q.· ·And then they pay -- so they get the money
19·   going to be different and three of our nieces also danced   19·   from the customer and then they pay the club?
20·   for us.· So we tried to keep our club above the standards   20·   · · · A.· ·Yes.
21·   of some of the other clubs.                                 21·   · · · Q.· ·Do you receive any tips from dancers?
22·   · · · Q.· ·Do some dancers at Heartbreakers perform at      22·   · · · A.· ·No.
23·   the club for long periods of time?                          23·   · · · Q.· ·Have you ever received any tip from a dancer?
24·   · · · A.· ·Yes.                                             24·   · · · A.· ·No.
25·   · · · Q.· ·Is that true for all of them?                    25·   · · · Q.· ·Have you ever paid a dancer yourself

                                                      Page 91                                                           Page 93
·1·   · · · A.· ·No.                                              ·1·   individually?
·2·   · · · Q.· ·Do some just kind of come for a week and         ·2·   · · · A.· ·You mean in, in a tip?
·3·   leave?                                                      ·3·   · · · Q.· ·Or just, you know, because she gave a good
·4·   · · · A.· ·Some come from -- for a day and leave.           ·4·   dance or something like that?
·5·   · · · Q.· ·Sure.· Those dancers though that do choose to    ·5·   · · · A.· ·Sure, I've gone to the stage and, and tipped
·6·   perform at the club for extended periods of time, have      ·6·   people.
·7·   you ever talked to any of them about why?                   ·7·   · · · Q.· ·What kinds of customers does Heartbreakers
·8·   · · · A.· ·Yes.                                             ·8·   see?
·9·   · · · Q.· ·And what, what have they told you?               ·9·   · · · A.· ·It's a wide variety from businessman to shift
10·   · · · A.· ·Because of the atmosphere we have, that          10·   workers, police.· Just a, a wide variety of customers.
11·   they're not forced to do things that they don't want to     11·   · · · Q.· ·I think Ms. Montgomery asked you earlier about
12·   do.                                                         12·   club -- the club's advertisements and, please correct me
13·   · · · Q.· ·What, what kinds of things are you talking       13·   if I'm wrong, I think you said that the club doesn't
14·   about?                                                      14·   really run any advertisements.· Is that accurate?
15·   · · · A.· ·I'm talking about sexual acts specifically.      15·   · · · A.· ·Yes.· We used to do billboards and even did
16·   · · · Q.· ·What about interactions with managers?           16·   radio at one time but we're so far removed from Houston,
17·   · · · A.· ·Our managers are -- well, I don't know exactly   17·   we were at the beginning that we decided to spend our
18·   what you mean by interaction.· They're not supposed to be   18·   money on this electronic message unit and that's where
19·   berating them and telling them what to do.                  19·   our advertising money went and that's where it still
20·   · · · Q.· ·Do, do you know if managers require dancers to   20·   goes.· The -- it's paid for now but the electricity to it
21·   pay them tips?                                              21·   is, you know, a few thousand dollars a month sometimes.
22·   · · · A.· ·If they give them tips it's of their own         22·   · · · Q.· ·Was there any reason why Heartbreakers stopped
23·   volition.                                                   23·   running advertisements in print and radio or other media?
24·   · · · Q.· ·Does the club require dancers to pay managers    24·   · · · A.· ·Financial reasons and that it didn't really
25·   tips?                                                       25·   help us.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 25 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                         94 to 97
                                                      Page 94                                                           Page 96
·1·   · · · Q.· ·What do you mean it didn't really help you?      ·1·   the, and the dancer.
·2·   · · · A.· ·Well, it didn't get any customers.               ·2·   · · · Q.· ·So if there's been testimony in this case
·3·   · · · Q.· ·Why do customers go to Heartbreakers?· What      ·3·   that, that the club says that dancers can only accept $20
·4·   draws them in?                                              ·4·   for a lap dance would that be true or false?
·5·   · · · A.· ·Because we have a good reputation.· We have so   ·5·   · · · A.· ·That's false.
·6·   many customers that just come in to stand at the bar and    ·6·   · · · Q.· ·Why do you say that?
·7·   have a few drinks and visit with their friends and then     ·7·   · · · A.· ·Because it -- because it is false.· We don't
·8·   go home.                                                    ·8·   set -- we don't even know what the customer is paying the
·9·   · · · Q.· ·Are there any other things that draw customers   ·9·   dancer.· They make their own negotiations and we have
10·   into Heartbreakers?                                         10·   nothing to do with it.· We can't -- we don't have any way
11·   · · · A.· ·Well, we give away free steaks on the weekends   11·   to check what they're doing.· They're sitting at a table
12·   and we do have good, good food and we have reasonably       12·   with each other and they make the deal with each other.
13·   priced drinks for our form of business and we just have     13·   · · · Q.· ·Does the club have any rules or policies
14·   a, a great atmosphere.· Some guys just come into shoot      14·   restricting dancers from, I don't know, accepting money
15·   pool.· They'll go directly to the pool tables.· Our pool    15·   or payment through things like Zelle or Venmo or Apple
16·   tables are free so and then --                              16·   Pay?
17·   · · · Q.· ·Do you --                                        17·   · · · A.· ·No, there's no way for us to have any kind of
18·   · · · A.· ·Go ahead.                                        18·   rules because we don't even know when it's happening.
19·   · · · Q.· ·Do you know if customers who, you know, they,    19·   · · · Q.· ·So if a customer wanted to pay a dancer for
20·   they come because they like the atmosphere, do you know     20·   their times dancing or chatting, no one would have a
21·   how that effects the amounts of money that dancers stand    21·   problem if a dancer said Well, you can pay me on a Venmo?
22·   to potentially make?                                        22·   · · · A.· ·He hands her his credit card and she gets the
23·   · · · A.· ·Oh, it makes it easier for them because they     23·   money.
24·   don't have to worry about being harassed by anybody for     24·   · · · Q.· ·What are the different things in your
25·   sure.                                                       25·   experience or based on what you've seen over 30 years at

                                                      Page 95                                                           Page 97
·1·   · · · Q.· ·Do all customers who come to the club pay        ·1·   Heartbreakers that can effect how much a dancer makes?
·2·   dancers for their entertainment?                            ·2·   · · · A.· ·It's entirely up to her.· I -- I've -- it's
·3·   · · · A.· ·No.· Some come just to drink and some come --    ·3·   her personality.· I -- I really don't know what, what it
·4·   we have one guy that comes every Thursday to eat his        ·4·   takes to be a dancer.· Each -- and each person that comes
·5·   dinner and have a few drinks.                               ·5·   in has to find their own way.· It's, it's just a very
·6·   · · · Q.· ·And does he ever pay for, for dances?            ·6·   individualized occupation.
·7·   · · · A.· ·I've never seen him.                             ·7·   · · · Q.· ·Does the club tell dancers that they have to
·8·   · · · Q.· ·Not once?                                        ·8·   do their work in any particular way?
·9·   · · · A.· ·I've never seen him personally.                  ·9·   · · · A.· ·No.
10·   · · · Q.· ·Based on your, you know, three decades at the    10·   · · · Q.· ·Does the club tell dancers how to dance?
11·   club how do dancers make, make their money?                 11·   · · · A.· ·No.
12·   · · · A.· ·Well, they can do table dances.· They can        12·   · · · Q.· ·Does the club have any rules effective that
13·   dance on stage.· There's a new thing going around that      13·   constricts their behavior with customers?
14·   customers just want to throw dollar bills on the front      14·   · · · A.· ·Follow the law.
15·   stage and then when one guy does it, well, then the next    15·   · · · Q.· ·Does the club make dancers approach any
16·   guy does it and they just make it a little show of, you     16·   certain number of customers?
17·   know, we've got all this money so here it is, but it's      17·   · · · A.· ·No.· They don't even have to approach
18·   dollar bills so then there's, you know, what people call    18·   customers.
19·   couch or table dances and they can just sit with a          19·   · · · Q.· ·What do you mean by that?
20·   customer and talk.· Some guys just want to talk and, and    20·   · · · A.· ·So sometimes they sit there and read a book.
21·   the dancer will make a deal with them to just sit and,      21·   · · · Q.· ·Are you, are you telling me dancers read books
22·   and listen.                                                 22·   at the club?
23·   · · · Q.· ·Does the club set any minimums or maximums as    23·   · · · A.· ·Yes, sometimes and they're on their phones.
24·   far as what customers can pay dancers?                      24·   · · · Q.· ·I -- I -- it's a little loud in the club to be
25·   · · · A.· ·No.· That's entirely between the customer and    25·   reading books, isn't it?


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 26 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                       98 to 101
                                                      Page 98                                                          Page 100
·1·   · · · A.· ·Oh, some people have -- are able to              ·1·   with them to what's happening today.
·2·   concentrate with music in the background.                   ·2·   · · · Q.· ·What is happening today?
·3·   · · · Q.· ·What kinds of music does the club play?          ·3·   · · · A.· ·People don't want to work.· They show up to
·4·   · · · A.· ·All kinds.                                       ·4·   work.· They don't want to work.· They -- as far as the
·5·   · · · Q.· ·Rap?                                             ·5·   entertainers are concerned, they wear less and less
·6·   · · · A.· ·Well, some -- there's some kind of rap or hip    ·6·   clothing.· We used to have girls wear beautiful gowns and
·7·   hop or whatever.· We -- that was another thing that we      ·7·   costumes when we first opened and they put -- actually
·8·   changed.· Years ago we used to require that our DJ to       ·8·   put on a show.· Some of the people don't even dance.
·9·   play country western every few songs because a lot of our   ·9·   They just walk around on the stage.· A lot of them do
10·   customers like country western music but now the dancers    10·   learn pole work but it's just a whole different
11·   are in complete control of whatever music that they want    11·   atmosphere, the music, the clothing, the -- it's just our
12·   to be played and so now we have a bunch of hip hop and      12·   society has changed and so our business had to change.
13·   rap and it just -- it's just different.                     13·   · · · Q.· ·Does the club have control over where it's
14·   · · · Q.· ·Can you think of any other changes at the club   14·   located?
15·   that, that might effect dancers, their, their work, that    15·   · · · A.· ·No.
16·   have happened over the past three to five years?            16·   · · · Q.· ·Why?
17·   · · · A.· ·I'm not exactly sure what you mean.              17·   · · · A.· ·Well, we were grandfathered.· There will never
18·   · · · Q.· ·Well, you're familiar with the allegations in    18·   be another adult club in the City of Dickinson or
19·   this lawsuit, right?                                        19·   probably anywhere in the area because when we came in all
20·   · · · A.· ·What, that they, that they have rules?           20·   the little cities made their own ordinance against our
21·   · · · Q.· ·Right.                                           21·   type of business being close to schools, churches, and
22·   · · · A.· ·Well, they have -- they run their own show.      22·   basically that leaves no, no area for a adult club to be
23·   That's all I can say.· They walk in the door.· They get     23·   and -- but we're grandfathered and, and if lose that
24·   ready or not.· They finally check in.· Finally get out to   24·   location there will be no more adult entertainment in
25·   the floor.· They go sit in the corner and look at their     25·   Dickinson.

                                                      Page 99                                                          Page 101
·1·   phone.· They -- maybe they're texting somebody to come      ·1·   · · · Q.· ·So the club couldn't just move to a new
·2·   in.· I don't -- we have no idea what they're doing and      ·2·   building somewhere in Dickinson, right?
·3·   then eventually they're called to the stage and they        ·3·   · · · A.· ·No.
·4·   dance on the stage and then they get off the stage and      ·4·   · · · Q.· ·The, the club does have some record keeping
·5·   then they go back to doing whatever they want to do.        ·5·   system I understand that shows when dancers -- what days
·6·   They can approach a customer.· They can sit down.· They     ·6·   they appear and what times they appear and what hours
·7·   can, they can leave.                                        ·7·   they depart.· Is that accurate?
·8·   · · · Q.· ·I'm trying to think if there's anything else     ·8·   · · · A.· ·Yes.
·9·   that -- that's been testified to in this case that the      ·9·   · · · Q.· ·What is the purpose of those records?
10·   facts give the way that dancers do their jobs.· You -- I    10·   · · · A.· ·Well, to keep track of, of what we collect for
11·   think you, you mentioned that Heartbreakers is, is          11·   one thing in our -- what we charge the dancers and that
12·   actually -- you had relatives perform at Heartbreakers?     12·   was probably the main reason and --
13·   · · · A.· ·Yes.                                             13·   · · · Q.· ·Do you know if the city requires that those
14·   · · · Q.· ·Do you know if those relatives felt that they    14·   records be kept?
15·   had their, their work as, as dancers controlled by the      15·   · · · A.· ·I think the city does require that.· That's
16·   club?                                                       16·   a -- I haven't read the ordinance in a long time but
17·   · · · · · · · ·MS. MONTGOMERY:· Objection, form.            17·   that's probably one of the reasons that we do keep it.
18·   · · · A.· ·Did she say something?                           18·   · · · Q.· ·Would the club ever change those time records?
19·   · · · Q.· ·(By Mr. King)· She, she said objection, form     19·   · · · A.· ·No.
20·   but you can answer.                                         20·   · · · Q.· ·Why?
21·   · · · A.· ·Okay.· Well, these girls are now -- and I can    21·   · · · A.· ·Nobody would know how to do it.· Those -- the
22·   call them girls because they are my nieces.· They're now    22·   program that we use is so old and we've lost contact with
23·   52, 53, and 54 years old and they were dancing back in      23·   the people that sold it to us so I don't -- you would
24·   the day when we did exercise control and -- but the, the    24·   have to hire some kind of -- what do they call those
25·   reason -- yeah.· So I can't really compare what happened    25·   people?· Hackers to come in, something like that.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 27 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                      102 to 105
                                                     Page 102                                                          Page 104
·1·   · · · Q.· ·Is it possible that a dancer could show up at    ·1·   · · · Q.· ·Why?
·2·   the club and not check in or have her date and time         ·2·   · · · A.· ·It's just not a requirement.· We don't, we
·3·   entered into this computer program and start performing?    ·3·   don't require them to do anything, not even dance.
·4·   · · · A.· ·I don't think so.                                ·4·   · · · Q.· ·Do some dancers choose to tip waitresses and
·5·   · · · Q.· ·Have you ever -- have you ever heard of that?    ·5·   bartenders, if you know?
·6·   · · · A.· ·No.                                              ·6·   · · · A.· ·Yes, they do.
·7·   · · · Q.· ·What would you say if a dancer said that those   ·7·   · · · Q.· ·Why?
·8·   records are incomplete or inaccurate?                       ·8·   · · · A.· ·Well, sometimes a waitress knows customers
·9·   · · · A.· ·I don't believe that they are.                   ·9·   that want dances and she will point the dancer to that
10·   · · · Q.· ·Does the -- would the club have any kind of      10·   customer so the dancer will give her some money, say
11·   incentive to change the records?                            11·   Well, thanks for helping me make some money.
12·   · · · A.· ·No.                                              12·   · · · Q.· ·Have you ever seen managers at the door of the
13·   · · · Q.· ·Why?                                             13·   club at the end of the night with their hands out telling
14·   · · · A.· ·Well, for one thing I want to know how much      14·   dancers to pay them?
15·   money that I took in and that has to balance.· Those        15·   · · · A.· ·No.
16·   numbers have to balance with the money I get.· So I         16·   · · · · · · · ·MS. MONTGOMERY:· Objection, form.
17·   wouldn't -- I want the, I want the records to be            17·   · · · Q.· ·(By Mr. King)· Not a once?
18·   accurate.                                                   18·   · · · A.· ·I'm never --
19·   · · · Q.· ·Well, do managers ever allow dancers to check    19·   · · · · · · · ·MS. MONTGOMERY:· Objection, form.
20·   in a little bit earlier to get lower house fees?            20·   · · · A.· ·-- hardly ever there when we close.
21·   · · · A.· ·I'm sure they do.                                21·   · · · Q.· ·(By Mr. King)· Have you ever heard of that?
22·   · · · Q.· ·Do you know if that's at all common?             22·   · · · A.· ·No.
23·   · · · A.· ·I'm not sure if it's common but I'm sure it      23·   · · · Q.· ·Have dancers ever complained to your knowledge
24·   happens.                                                    24·   about managers doing that?
25·   · · · Q.· ·Does the club have any restrictions or rules     25·   · · · A.· ·Not to me.

                                                     Page 103                                                          Page 105
·1·   that prevent managers from doing that?                      ·1·   · · · Q.· ·What would happen to a manager if, if
·2·   · · · A.· ·No.                                              ·2·   Heartbreakers found out that he was demanding tips from
·3·   · · · Q.· ·You were testifying earlier about dancers        ·3·   dancers?
·4·   declaring money to the cashiers.· I just want to be sure    ·4·   · · · A.· ·Well, he'd be reprimanded and eventually
·5·   that I understand.· Does the club require dancers to        ·5·   fired.
·6·   report any sums to the cashiers at the end, at, at the      ·6·   · · · Q.· ·Has the club ever had to fire a manager for
·7·   end of a shift?                                             ·7·   that?
·8·   · · · A.· ·Well, I don't know if required is the word but   ·8·   · · · A.· ·I don't know.· I would have to talk to our
·9·   if they were there for a whole shift they wouldn't stay     ·9·   general manager about that.· I'm not exactly sure of all
10·   for a whole shift if they hadn't made some money.           10·   the circumstances of, of why anyone was fired.
11·   · · · Q.· ·Okay.· Well, whenever they leave are -- does     11·   · · · Q.· ·If a dancer is underage can she buy alcohol at
12·   the club require that they show the money that they, they   12·   the club?
13·   took from customers to the cashiers?                        13·   · · · A.· ·No.
14·   · · · A.· ·Absolutely not.                                  14·   · · · Q.· ·What would happen if she did try to buy
15·   · · · Q.· ·Why do you say it so adamantly?                  15·   alcohol at the club?
16·   · · · A.· ·Well, it just sounds ridiculous to me.           16·   · · · A.· ·She would be asked to leave.
17·   · · · Q.· ·The club does give 1099's out though, right?     17·   · · · Q.· ·Why is that?
18·   · · · A.· ·Yes.                                             18·   · · · A.· ·It's against the law.
19·   · · · Q.· ·Okay.· Do you, do you know where the             19·   · · · Q.· ·Would the club tell a customer who's underage
20·   nonemployee compensation figures might come from?           20·   who tries to buy alcohol to leave?
21·   · · · A.· ·They come from that computer in the check-out    21·   · · · A.· ·Well, he wouldn't get in because he presents
22·   office where the cashier works.                             22·   his ID when he enters.
23·   · · · Q.· ·Does the club require dancers to tip             23·   · · · Q.· ·Fair enough.· Do you have waitresses who are
24·   waitresses or bartenders?                                   24·   under the age of 21 or at?
25·   · · · A.· ·No.                                              25·   · · · A.· ·I'm, I'm not sure but I think we have had.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 28 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                      106 to 109
                                                     Page 106                                                          Page 108
·1·   · · · Q.· ·Would a waitress who tried to buy alcohol be     ·1·   down there and the ATM and she has more contact with
·2·   asked not to return --                                      ·2·   what's going on in the club than I do.
·3·   · · · A.· ·Yes.                                             ·3·   · · · Q.· ·Okay.· You said at some point Heartbreakers
·4·   · · · Q.· ·-- if she was underage?                          ·4·   use -- used to make the entertainers stay to the end of
·5·   · · · A.· ·Yes.                                             ·5·   the shift; is that correct?
·6·   · · · Q.· ·Does the, does the club allow dancers to just    ·6·   · · · A.· ·Yes, it was for their safety.
·7·   hang out in the locker room?                                ·7·   · · · Q.· ·When, when was that rule in effect?
·8·   · · · A.· ·They can hang out wherever they want.            ·8·   · · · A.· ·Years ago.
·9·   · · · Q.· ·Is there any set amount of time that they're     ·9·   · · · Q.· ·More than five years ago?
10·   allowed to be in the locker room?                           10·   · · · A.· ·I don't know.· You have to ask our general
11·   · · · A.· ·No.                                              11·   manager.· I -- you know, I have gone down in the club
12·   · · · Q.· ·Do you know if the club requires dancers to      12·   less frequently over the years because of my job I have
13·   prepare for their work in the locker room?                  13·   in my office is so demanding, paying the bills and
14·   · · · A.· ·No, they can be ready when they get there.       14·   getting loans and it's just overwhelming so I don't, I
15·   · · · Q.· ·Is it at all true that some dancers spend        15·   don't go down there to check on anything.· I, I rely on
16·   hours in the locker room?                                   16·   my -- Mike and our general manager to handle anything
17·   · · · A.· ·I don't know but I -- I wouldn't think it'd be   17·   down there.
18·   very profitable for them to stay in the locker room.        18·   · · · Q.· ·So most of your experience or knowledge about
19·   · · · · · · · ·MR. KING:· I think that's it.· I pass the    19·   why entertainers do things or what -- you know, what's
20·   witness.                                                    20·   happening specifically with policies related to the --
21·   · · · · · · · ·MS. MONTGOMERY:· Let me ask some follow-up   21·   with regard to entertainers, you, you know about that
22·   questions.· I didn't expect quite that long on your         22·   through what either your managers tell you or maybe your
23·   direct so let me ask a few follow-ups.                      23·   husband, right?
24·   · · · · · · · · · ·RE-EXAMINATION                           24·   · · · A.· ·Yes.
25·   QUESTIONS BY MS. MONTGOMERY:                                25·   · · · Q.· ·One of the things you talked about was the

                                                     Page 107                                                          Page 109
·1·   · · · Q.· ·If I understand your testimony correctly,        ·1·   requirements that a, that a waitress would have to go, go
·2·   there's no other sexually oriented businesses like          ·2·   through and I heard you say that they had some sort of
·3·   Heartbreakers in Dickinson; is that true?                   ·3·   training provided; is that true?
·4·   · · · A.· ·That is true.                                    ·4·   · · · A.· ·Yes.· Well, they have to be TABC certified
·5·   · · · Q.· ·Where is the nearest one?· Do you know?          ·5·   before they can start and then a -- another waitress will
·6·   · · · A.· ·146 Double Shoe.                                 ·6·   take them around and, and explain to them the credit card
·7·   · · · Q.· ·Is that Bacliff?                                 ·7·   system and the banks and just different procedures that
·8·   · · · A.· ·Yes.                                             ·8·   we use, the check-out process and everything that a
·9·   · · · Q.· ·When's the last time that a entertainer has      ·9·   waitress does.
10·   asked to be a waitress at Heartbreakers?                    10·   · · · Q.· ·Is there any sort of written training manual
11·   · · · A.· ·I don't know.· I'd have to ask the general       11·   for a waitress?
12·   manager.                                                    12·   · · · A.· ·We have a, a little packet that lists a lot of
13·   · · · Q.· ·Was it pre pandemic?                             13·   things that, that they're supposed to do.
14·   · · · A.· ·Probably.                                        14·   · · · Q.· ·Is that packet just for waitresses or does
15·   · · · Q.· ·When you heard that information that a           15·   that apply to any other staff?
16·   entertainer wanted to be a waitress, was it through the     16·   · · · A.· ·Well, there's a packet for waitresses and a
17·   general manager or did you actually -- did the              17·   packet for bartenders and so on.
18·   entertainer actually approach you about it?                 18·   · · · Q.· ·What is the schedule for a entertainer if she
19·   · · · A.· ·No, no one approaches me about anything like     19·   decides she wants to be an employee?
20·   that.                                                       20·   · · · A.· ·Well, that would be decided by our general
21·   · · · Q.· ·So if, if you know anything about, about the     21·   manager.
22·   dancers in particular, is that through a general manager    22·   · · · Q.· ·It's not something that's already in the
23·   or manager at the club?                                     23·   contract that's offered to her?
24·   · · · A.· ·Or maybe my office manager cause she's -- you    24·   · · · A.· ·No, it would -- she would have to be put on
25·   know, goes down to fill the cigarette and those machines    25·   the schedule by the general manager.


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 29 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                      110 to 113
                                                     Page 110                                                          Page 112
·1·   · · · Q.· ·I'm just curious as to whether when she's        ·1·   mainly because we couldn't afford them.
·2·   offered the choice of, of the two contracts if she knows    ·2·   · · · Q.· ·Would you find it acceptable if a manager was
·3·   at the point -- at the point that she's offered the two     ·3·   berating one of your bartender staff?
·4·   contracts what the schedule's going to be?                  ·4·   · · · A.· ·You mean in front of everybody?
·5·   · · · A.· ·No, she wouldn't know.· The waitresses don't     ·5·   · · · Q.· ·Yes.
·6·   know what their schedule is going to be either.             ·6·   · · · A.· ·No, it wouldn't be acceptable.
·7·   · · · Q.· ·Are the waitresses told how frequently they      ·7·   · · · Q.· ·Might that be something that you would
·8·   would need to work?                                         ·8·   reprimand or talk to that manager about?
·9·   · · · A.· ·Yes.                                             ·9·   · · · A.· ·Yes.
10·   · · · Q.· ·Is there a general requirement for that?· Like   10·   · · · Q.· ·Would it be the same if a, if a manager was
11·   all of you have to work three shifts a week or something    11·   berating a door person?
12·   like that?                                                  12·   · · · A.· ·Yes.
13·   · · · A.· ·There used to be for the waitresses, yes.· I'm   13·   · · · Q.· ·It's just not acceptable behavior for a
14·   not sure how many shifts they have to work now since        14·   supervisor of any sort at the club; is that true?
15·   we -- it's kind of confusing now because our day shift is   15·   · · · A.· ·That's true.
16·   only from 4:00 to 8:00 and then the night shift is 7:00     16·   · · · Q.· ·Whether they're talking to an employee of the
17·   to 2:00.· So it's, it's just confusing to try to figure     17·   club or an entertainer, right?
18·   out shifts right now.                                       18·   · · · A.· ·That's true.
19·   · · · Q.· ·I think one thing you discussed was              19·   · · · Q.· ·Is there a dress code for the patrons of the
20·   advertisements and I understand that Heartbreakers          20·   club?
21·   isn't -- the main advertisement you have is the             21·   · · · A.· ·Well, when we started we tried to have a dress
22·   electronic billboard sign, right?                           22·   code but then we found out that we were in the Clear Lake
23·   · · · A.· ·Yes.                                             23·   area which is a boating community and the guys that own
24·   · · · Q.· ·Is there a website for Heartbreakers?            24·   those expensive yachts, they wanted to come in in their
25·   · · · A.· ·Yes but it hasn't been updated in years          25·   shorts and boat shoes and so we relaxed our dress code

                                                     Page 111                                                          Page 113
·1·   because we --                                               ·1·   and now it's what we all call Clear Lake casual, which is
·2·   · · · Q.· ·Who --                                           ·2·   clean and neat.
·3·   · · · A.· ·-- we don't have anybody that works for us       ·3·   · · · Q.· ·And I understood that to be, for example, if,
·4·   or -- and we haven't hired any outside help to help us so   ·4·   if someone was a painter and came in with their, you
·5·   it just kind of sits there.                                 ·5·   know, clothes tarnished with paint maybe they wouldn't be
·6·   · · · Q.· ·What about with social media, is there any       ·6·   allowed entrance because that's not a clean and neat
·7·   social media for Heartbreakers?                             ·7·   attire, right?
·8·   · · · A.· ·Are you talking about -- yeah.· I think we       ·8·   · · · A.· ·Correct and before Hurricane Harvey we used to
·9·   have a Facebook and there are several of our -- there's     ·9·   have T-shirts to sell to customers if they, for instance,
10·   our DJ and one of waitresses that make posts on that and    10·   wore a tank top.· We don't want tank tops either so we
11·   then I think one of waitresses started an Instagram         11·   would either sell or give them -- we had some giveaway
12·   account and she makes posts on that, but I'm not sure if    12·   T-shirts also that we'd give them to wear.
13·   they're posts or they just make them on their own. I        13·   · · · Q.· ·The D -- is it the DJ at the club that runs
14·   don't think -- I don't know if they get the general         14·   the stage rotation for the entertainers?
15·   manager's approval or -- before they do it or they just     15·   · · · A.· ·Yes.
16·   do it on their own advertise for the club and we don't      16·   · · · Q.· ·And when a entertainer shows up to perform
17·   pay --                                                      17·   does she have to sign in with the DJ to be part of that
18·   · · · Q.· ·Well, I --                                       18·   rotation?
19·   · · · A.· ·-- and we don't pay them to do it.               19·   · · · A.· ·Yes.
20·   · · · Q.· ·Yeah.· I just didn't know if there was           20·   · · · Q.· ·And the DJ plays -- decides the music that's
21·   somebody on -- at the office side that was managing any     21·   going to be played for each performance?
22·   of that.· Is that true?                                     22·   · · · A.· ·No, the dancer tells him what kind of music
23·   · · · A.· ·No.· We've, we've tried to hire people to help   23·   she wants.
24·   us with social media and we have not found anyone that --   24·   · · · Q.· ·Is there a light show as well or lights on the
25·   I can't say it's cause we didn't like them or probably --   25·   stage?


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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 30 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                      114 to 117
                                                     Page 114                                                                                  Page 116
·1·   · · · A.· ·Yes.                                             ·1·   · · · · · · · · · · SIGNATURE OF WITNESS
                                                                  ·2
·2·   · · · Q.· ·Who, who runs the lights?                        · ·   I, PEGGY ARMSTRONG, solemnly swear or affirm under the
·3·   · · · A.· ·The DJ.                                          ·3·   pains and penalties of perjury that the foregoing pages
                                                                  · ·   contain a true and correct transcript of the testimony
·4·   · · · Q.· ·All right.· Other than my reservation about
                                                                  ·4·   given by me at the time and place stated, with the
·5·   the review of the financials and the potential need to      · ·   corrections, if any, and the reasons therefore noted on
·6·   recall you if I'm -- can't get the information from         ·5·   the foregoing correction page(s).
                                                                  ·6
·7·   looking at the financials, I will reserve the rest of my    · ·   · · · · ·           · · · · · · · ______________________________
·8·   questions.                                                  ·7·   · · · · ·           · · · · · · · · · · ·PEGGY ARMSTRONG
                                                                  ·8·   STATE OF·           TEXAS
·9·   · · · · · · · ·MR. KING:· All right.· Thank you much.
                                                                  ·9·   COUNTY OF           _____
10·   · · · · · · · ·THE WITNESS:· Thank you.                     10
11·   · · · · · · · ·(P. Armstrong Exhibits 1 through 5           11·   Before me, _________________________________________, on
                                                                  · ·   this day personally appeared PEGGY ARMSTRONG, known to
12·   marked.)                                                    12·   me, or proved to me under oath, to be the person whose
13                                                                · ·   name is subscribed to the foregoing instrument and
                                                                  13·   acknowledged to me that she executed the same for the
14
                                                                  · ·   purposes and consideration therein expressed.
15                                                                14
16                                                                · ·   · · · Given under my hand and seal of office on this, the
                                                                  15·   ______ day of _____________, 2021.
17                                                                16
18                                                                · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   _______________________________
                                                                  17·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Notary Public in and for the
19
                                                                  · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   State of Texas
20                                                                18·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   My Commission Expires:_________
21                                                                19
                                                                  20
22                                                                21
23                                                                22
                                                                  23
24
                                                                  24
25                                                                25


                                                     Page 115                                                                                  Page 117
·1·   · REMOTE VIDEOCONFERENCE DEPOSITION OF PEGGY ARMSTRONG      ·1·   · · · · · · ·IN THE UNITED STATES DISTRICT COURT
                                                                  · ·   · · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
·2                                                                ·2·   · · · · · · · · · · ·GALVESTON DIVISION
·3·   · · · · · · · · · · CORRECTION PAGE                         ·3·   STACEY KIBODEAUX aka ILLUSION, ) Case No.: 3:20-CV-00008
                                                                  · ·   HAILEY CHAPMAN aka DAISY,· · · )
·4                                                                ·4·   JEAN HOFFMEISTER aka JOHNE and )· JURY TRIAL DEMANDED
·5·   · · · Please indicate changes on this Signature and         · ·   ROXANNE MURILLO aka· · · · · · )
                                                                  ·5·   UNIQUE/ROXANNE, individuals,· ·)
·6·   Correction Page giving the page and line number, the
                                                                  · ·   · · · · · · · · · · · · · · · ·)
·7·   change, and the reason for the change.· Reasons for         ·6·   · · · · · · · ·Plaintiff,· · · )
·8·   change are:· (1) to clarify the record; (2) to conform to   · ·   · · · · · · · · · · · · · · · ·)
                                                                  ·7·   · · · VS.· · · · · · · · · · · )
·9·   the facts; (3) to correct transcription errors.             · ·   · · · · · · · · · · · · · · · ·)
10                                                                ·8·   A&D INTERESTS, INC. D/B/A· · · )
                                                                  · ·   HEARTBREAKERS GENTLEMAN'S· · · )
11·   ·PAGE/LINE· · · · · · · CORRECTION· · · · · · · REASON      ·9·   CLUB, MIKE A. ARMSTRONG, PEGGY )
12·   _________________________________________________________   · ·   A. ARMSTRONG AND WHITEY DOE,· ·)
                                                                  10·   INDIVIDUALS,· · · · · · · · · ·)
13·   _________________________________________________________
                                                                  · ·   · · · · · · · · · · · · · · · ·)
14·   _________________________________________________________   11·   · · · · · · · ·Defendants.· · ·)
15·   _________________________________________________________   12·   · · · · · · · · · · ·REPORTER'S CERTIFICATE
                                                                  · ·   · · · · TO THE REMOTE VIDEOCONFERENCE DEPOSITION OF
16·   _________________________________________________________   13·   · · · · · · · · · · · · ·PEGGY ARMSTRONG
17·   _________________________________________________________   · ·   · · · · · · · · · · · · ·APRIL 30TH, 2021
                                                                  14·   · · · I, Susan L. Graham, a Certified Shorthand Reporter
18·   _________________________________________________________   15·   in and for the State of Texas, hereby certify to the
19·   _________________________________________________________   16·   following:
                                                                  17·   · · · That the witness, PEGGY ARMSTRONG, was duly sworn
20·   _________________________________________________________   18·   by the officer and that the transcript of the remote
21·   _________________________________________________________   19·   videoconference deposition is a true record of the
                                                                  20·   testimony given by the witness;
22·   _________________________________________________________
                                                                  21·   · · · That the original deposition was delivered to Leigh
23·   _________________________________________________________   22·   Montgomery;
24·   _________________________________________________________   23·   · · · That the amount of time used by each party at the
                                                                  24·   deposition is as follows:
25                                                                25·   · · · Leigh Montgomery - 2:05



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Case 3:20-cv-00008 Document 82-5 Filed on 05/21/21 in TXSD Page 31 of 31
                              Peggy Armstrong                   EXHIBIT E
                               April 30, 2021                             118
                                                    Page 118
·1· · · · William X. King - :41
·2· · · · That a copy of this certificate was served on all
·3· parties and/or the witness shown herein on
·4· ______________________.
·5· · · · I further certify that pursuant to the FRCP Rule
·6· 30(f)(1) that the signature of the deponent:
·7· · · · · · ______was requested by the Deponent or a party
·8· before the completion of the deposition and to be
·9· returned within 30 days from date of receipt of the
10· transcript.· If returned, the attached Changes and
11· Signature Page contains any changes and the reasons
12· therefore;
13· · · · I further certify that I am neither counsel for,
14· related to, nor employed by any of the parties or
15· attorneys in the action in which this proceeding was
16· taken, and further, that I am not financially or
17· otherwise interested in the outcome of the action.
18· · · · · · Certified to by me on this, the 8th day of
19· May, 2021.
20· · · · · · · · · · ·_________________________
· · · · · · · · · · · ·SUSAN L. GRAHAM
21· · · · · · · · · · ·Texas CSR No. 2534
· · · · · · · · · · · ·Expires:· January 31, 2022
22· · · · · · · · · · ·Firm Registration No. 122
· · · · · · · · · · · ·16825 Northchase Drive
23· · · · · · · · · · ·Suite 800
· · · · · · · · · · · ·Houston, Texas· 77060
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